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               Exhibit A
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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION



  AMERICAN CLOTHING EXPRESS, INC.,           Case No. 2:20-cv-02007-SHM-dkv
  D/B/A ALLURE BRIDALS AND JUSTIN
  ALEXANDER, INC.,                           AMENDED COUNTERCLAIMS AND
                                             ANSWER OF CLOUDFLARE, INC.
  Plaintiffs,
                                             DEMAND FOR JURY TRIAL
  v.

  CLOUDFLARE, INC. and DOES 1–200,
  inclusive,

  Defendants.


  CLOUDFLARE, INC.

  Counterclaimant,

  v.

  AMERICAN CLOTHING EXPRESS, INC.,
  D/B/A ALLURE BRIDALS AND JUSTIN
  ALEXANDER, INC.,

  Counterdefendants.
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        Defendant and Counterclaimant Cloudflare, Inc. asserts amended counterclaims, and

 answers the Complaint, below. It refers to Plaintiff American Clothing Express, Inc. d/b/a Allure

 Bridals as “Allure Bridals”; Plaintiff Justin Alexander, Inc. as “Justin Alexander”; and itself as

 “Cloudflare.”

                                 AMENDED COUNTERCLAIMS

                                         INTRODUCTION

        1.       This lawsuit involves a dispute under the Copyright Act between Defendant and

 Counterclaimant Cloudflare, Inc. on the one hand and Plaintiffs American Clothing Express, Inc.

 (Allure Bridals) and Justin Alexander, Inc. on the other. Plaintiffs initiated this lawsuit by filing

 a Complaint that asserts direct copyright infringement claims against 200 Doe websites and a

 single contributory infringement claim against Cloudflare. While that Complaint evidences a

 portion of the real and continuing controversy among the parties, it artfully omits facts and

 documents that were within Plaintiffs’ possession and that are fundamental to the resolution of

 this dispute. Cloudflare brings these Amended Counterclaims for declaratory relief to amplify

 the factual record at the pleadings stage and identify key legal barriers to Plaintiffs’ claims,

 thereby substantially assisting in the efficient resolution of this dispute, which is a core purpose

 of the Declaratory Judgment Act, 28 U.S.C. § 2201.

                          I.      CLOUDFLARE AND ITS SERVICES

        2.       Cloudflare is one of the Internet’s most important infrastructure providers.

        3.       Cloudflare secures websites and the Internet from cyberattacks while it enhances

 the overall health and efficiency of the Internet.

        4.       Cloudflare was founded in 2010, and it went public on the New York Stock

 Exchange in 2019.




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         5.     Relatively small for its reach and effect, with under 1500 employees, Cloudflare

 blocks on average 45 billion cyberattacks per day as it handles traffic to and from over 27

 million Internet properties.

         6.     Cloudflare’s mission is to help build a better Internet. That means emphasizing

 security, privacy, reliability, and efficiency of the “network of networks” that make up the

 Internet.

         7.     In carrying out this function, Cloudflare's services operate several layers lower in

 the Internet stack than websites or platforms themselves. Cloudflare does not operate a social

 media platform or offer other content-based services that analyze the data crossing its network

 for the purpose of promoting, locating, ranking or marketing content.

         8.     To carry out its mission, Cloudflare aims to serve everyone on the Internet from

 individual developers, to small businesses, to the largest enterprises.

         9.     Cloudflare provides services to approximately 10% of the Fortune 1000, as well

 as universities, governments, and other large organizations. It derives the overwhelming share of

 its revenue from those large customers.

         10.    For example, in its August 15, 2019 S-1 Registration Statement, Cloudflare

 provided a list of representative customers that included the Federal Bureau of Investigation, the

 Library of Congress, Adobe, LendingTree, SoFi, Walmart, The Daily Beast, Harper Collins

 Publishing, 23andMe, Norwegian Air, Baylor University, and Starbucks. See Cloudflare’s S-1

 Statement at 137, available at

 https:///www.sec.gov/Archives/edgar/data/1477333/000119312519222176/d735023ds1.html.

         11.    Cloudflare’s customers have also included political parties in the United States

 and other countries (including the web properties of many U.S. presidential candidates since




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 2015), dissident groups in autocratic countries, and many other sensitive or politically vulnerable

 groups.

           12.   Earlier this year, Cloudflare launched Cloudflare for Campaigns, a suite of

 services tailored to assist campaigns in protecting, accelerating, and ensuring the reliability of

 their websites—with additional solutions designed to keep internal teams and data secure.

 Cloudflare provides these services for free to qualifying federal political candidates. Information

 about this program is at https://www.cloudflare.com/campaigns/.

           13.   Cloudflare established its Athenian Project to ensure that state and local

 government election-related websites have the highest level of protection and reliability for free,

 so that their constituents have access to election information and voter registration.

           14.   Cloudflare also has operated Project Galileo, which protects at-risk public-interest

 and civil-society groups in the arts, human rights, civil society, journalism, or democracy by

 providing them free enterprise-class protection and business-level performance services.

 Information about the project is available at https://www.cloudflare.com/galileo/. As an example

 of the services provided through Project Galileo, Cloudflare protects organizations such as The

 Water Project, with the mission of providing reliable access to clean water and proper sanitation

 in communities in sub-Saharan Africa, The Carter Center which works in 80 countries to support

 areas such as election monitoring, and CoronaSafe which is an open-source public utility for the

 Kerala State government in India on how to stay safe during the pandemic.

           15.   Recently, in response to the COVID-19 pandemic, Cloudflare has taken additional

 steps to help the Internet function during a time of increased usage, including as a result of

 remote working. Among other things, Cloudflare has made available, for free, additional

 solutions to allow teams to work from remote locations securely and efficiently. Information is




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 available at https://blog.cloudflare.com/cloudflare-during-the-coronavirus-emergency/.

 Cloudflare also is working to provide for free a suite of services designed to help state and local

 government websites remain online.

        16.     Cloudflare offers a variety of service plans. Apart from custom-tailored

 “Enterprise” plans for large customers, Cloudflare offers the “Business” plan at $200 per month,

 the “Pro” plan at $20 per month, and the “Free” plan at no cost.

        17.     Cloudflare has more than 2.8 million customers, and more than 2.7 million of

 those customers use Cloudflare’s services for free.

        18.     Cloudflare’s offer of free services reflects its mission to help build a better

 Internet and its belief that one’s ability to operate securely on the Internet should not depend on

 one’s ability to pay.

        19.     Cloudflare’s free services also meaningfully contribute to the security,

 performance, and reliability of Cloudflare’s network, thus benefiting the Internet as a whole.

        20.     The inclusion of millions of free customers in Cloudflare’s network allows

 Cloudflare to capture data about the operation, functionality, and performance of the Internet, in

 effect giving Cloudflare a vast sensory network. Cloudflare’s machine learning systems

 automatically aggregate all data across its network that it then uses to provide better solutions for

 its customers. For instance, hackers often test a new attack against smaller sites before they

 launch an attack on a major enterprise. Cloudflare will often detect these attacks in their nascent

 stages and, like an immune system response, its machine learning algorithms learn to stop them

 before they can target others. The breadth of Cloudflare’s customer base gives it a unique

 perspective that it would not see if it served only the largest enterprises.




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        21.     Cloudflare’s free services also assist Cloudflare’s quality assurance efforts for the

 benefit of all customers. Cloudflare’s free customers regularly test new features that Cloudflare

 develops. This gives Cloudflare a virtual quality assurance team and ensures that, by the time it

 rolls a feature out to its paying customers, it has rigorously tested the feature under real Internet

 conditions.

                    II.     CLOUDFLARE’S TECHNICAL OPERATIONS

        22.     Cloudflare’s engineers around the world keep constant watch on the development

 of constantly-evolving cyberattacks and fight daily to protect the Internet and its users, including

 but not limited to Cloudflare’s customers. It is the Company’s top priority.

        23.     Cloudflare’s engineers also fight daily to make the Internet more reliable by

 making it more efficient and more able to route around attacks and other damage.

        24.     One significant risk that Cloudflare protects against is that of “denial of service”

 (DoS) attacks and the more powerful “distributed denial of service” (DDoS) attacks. In these

 attacks, malicious actors flood Internet properties with requests that overwhelm the properties’

 capability to respond. The effect of DoS and DDoS attacks is to knock Internet properties offline

 and make them unavailable to other Internet users.

        25.     Another principal risk that Cloudflare protects against is that of viruses and

 worms, computer code that often infects computers and networks for malicious purposes. They

 include code that disables computers and networks, or steals and exports private or secret data

 (sometimes by “scraping,” or downloading and exporting massive amounts of, or even entire

 contents, of a computer or network), or locks computers or networks to block their owners’

 access to data until the owners pay ransoms (this malicious code is called “ransomware”).

        26.     These types of malicious code are often disseminated by “bots,” automated

 programs that install themselves in computers or networks to use them to launch attacks and


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 deliver malicious code to other computers or networks. When bots corrupt other networks, they

 create “botnets” to multiply their paths of attack across the Internet.

        27.     Because bots take advantage of vulnerabilities of some computers or networks to

 attack and infect other computers or networks, protection of one computer or network helps

 protect other computers and networks. This is one reason why Cloudflare provides free services

 to millions of Internet properties.

        28.     Cloudflare’s services have helped mitigate and respond to some of the largest

 botnet and malware attacks in the history of the Internet, including, for example, the Mirai

 Internet of Things Botnet and the WannaCry ransomware attacks. More details are available

 here: https://blog.cloudflare.com/inside-mirai-the-infamous-iot-botnet-a-retrospective-analysis/

 and https://techcrunch.com/2019/07/08/the-wannacry-sinkhole/. In a 2018 press release, the FBI

 recognized Cloudflare’s contribution to stopping these infamous attacks. The press release can

 be found here: https://www.justice.gov/usao-ak/pr/hackers-cooperation-fbi-leads-substantial-

 assistance-other-complex-cybercrime.

        29.     Cloudflare protects against Internet attacks—including DoS/DDoS, virus or

 worm, and botnet attacks described above—by placing itself in the traffic flow both ways

 between a customer’s Internet property and Internet users who seek to access the Internet

 property. All traffic to a Cloudflare customer must go through Cloudflare’s network so that

 Cloudflare can detect the traffic patterns and block traffic that is characteristic of an attack.

        30.     To carry out that function, Cloudflare operates what is called a “content delivery

 network” with “points of presence” around the globe.

        31.     When a user seeks an Internet property of a Cloudflare customer, that user’s

 Internet service provider (ISP) sends the user’s traffic to the Cloudflare network, and not that of




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 Cloudflare’s customer. Cloudflare’s automated systems inspect the traffic for signs of malicious

 activity and, if the systems do not detect malicious activity, the traffic automatically passes on to

 the customer. When the customer’s Internet property responds, that response passes

 automatically through Cloudflare’s network back to the user.

        32.     By this process, for example, when an Internet user wants to go to Baylor

 University’s website and types “baylor.edu” into the browser address bar, the traffic goes to

 Cloudflare’s network, from Cloudflare’s network to Baylor University’s network, from Baylor

 University’s network back to Cloudflare’s network, and then from Cloudflare’s network back to

 the requesting user.

        33.     To ensure that the traffic to and from the customer’s website passes through

 Cloudflare’s network, the customer associates with its domain name a Cloudflare network IP

 address instead of the IP address of its own network or hosting provider.

        34.     When an Internet user’s browser initiates a transmission to a Cloudflare

 customer’s Internet property, the browser consults a “Domain Name System” (DNS) service to

 identify the IP address associated with the domain name. A DNS service provides a massive

 directory that matches domain names with the IP addresses that the domain owners specify.

 Cloudflare provides a DNS service to help carry out this function. It is one of the ten largest

 DNS providers, along with Microsoft (Azure), Google, Amazon, and Verisign.

        35.     Thus, when an Internet user wants to visit Baylor University’s website by typing

 “baylor.edu” into the browser address bar, (a) the browser consults a DNS service to find the IP

 address corresponding to that domain; (b) the browser transmits data to that IP address at

 Cloudflare; (c) Cloudflare’s automated system inspects the traffic and, if it finds no technical

 evidence of a threat, passes the traffic to the Baylor’s network or hosting provider; (d) Baylor’s




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 network or hosting provider responds to the user, sending data or information back to

 Cloudflare’s network; and (e) the Cloudflare system, again detecting no technical evidence of a

 threat, relays Baylor’s data or information to the browser user. All this happens in a split-second.

            36.   Cloudflare’s transmission, relaying, and threat detection functions are fully

 automatic. Cloudflare’s automatic system does not discriminate in favor of or against

 transmission of material based upon any analysis of the content of the material that passes

 through its system. It looks instead for certain technical “signatures” or traffic patterns of known

 threats.

            37.   Because Cloudflare stands between Internet users and its customers’ Internet

 properties, and because some Internet properties generate large amounts of traffic, Cloudflare

 makes the Internet more efficient and reduces burdens on its customers’ networks by reducing

 the number of times Cloudflare must fetch the identical data from customers and relay it to users.

            38.   For that purpose, Cloudflare’s system may on occasion temporarily store data or

 information from its customers’ websites on a particular point in Cloudflare’s network (a “point

 of presence”) if it receives numerous and frequent requests for the data or information through

 that point of presence. Thus, instead of constantly relaying multiple requests for the same

 customer data from users through its network to a source website and back through the network

 to all the users, Cloudflare’s system will temporarily store the data or information at the point of

 presence and deliver it immediately from that point to the user. By shortcutting the transmission

 path, Cloudflare’s system spares its customer the traffic burden and transmits the data from a

 point generally closer to the requesting user, shaving milliseconds off the round trip of the user’s

 request. This process is called “system caching.”




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        39.     Whether Cloudflare’s system “caches” material from its customers’ Internet

 properties depends on many different factors. They include (a) the number and frequency of

 requests for the same material from users through a particular point of presence, (b) the type of

 data or files, (c) the duration of availability of the material on the customer’s Internet property,

 and (d) settings that Cloudflare’s user can control. No caching occurs with audio and video files.

        40.     Cloudflare’s system frequently “refreshes” its cache, by comparing it to the

 customer’s Internet property, to ensure that the cache matches what is on the Internet property.

 If the customer’s Internet property has changed its data or information, Cloudflare’s system

 automatically clears its “cache” of that data or information.

        41.     Cloudflare’s caching functions are fully automatic. Cloudflare’s system does not

 discriminate in favor or against caching based upon any analysis of the content of the material it

 caches, although it does not cache dynamic material (such as video or sound).

        42.     Cloudflare’s CDN service and its global network, with “points of presence”

 around the globe, help its customers transmit and route material to Internet users quickly and

 efficiently. Cloudflare’s services are just some of many different factors affecting speed of

 transmission of website materials to a visitor. Other factors include the location of host servers

 for the website; the location of the likely Cloudflare data centers relative to the visitor; the

 visitor’s Internet service provider, connection speed, and web traffic on that connection at the

 time of the access; the browser application that the visitor is using and the settings for that

 browser; the visitor’s equipment, such as a computer or other device that the visitor uses; the

 local networks that the visitor employs to access the Internet and the traffic on those networks;

 the network equipment such as a modem and a router with or without a WiFi network; and

 factors such as the visitor’s distance from local network resources. The incremental speed




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 benefit provided to websites by Cloudflare’s services is generally less than differences in speed

 that individual users experience based on everyday factors like their type of Internet access such

 as DSL, satellite, cable, and fiber-based networks.

        III.    CLOUDFLARE’S POLICIES AND PRACTICES REGARDING
                ACCUSATIONS OF ABUSE OF CLOUDFLARE’S SYSTEM
                AND SERVICES BY ITS CUSTOMERS

        43.     Cloudflare has established substantial policies and practices regarding accusations

 of abuse of Cloudflare’s system or services by Cloudflare customers.

        44.     Cloudflare’s abuse complaint reporting system and team address approximately

 100,000 accusations per month, requiring automated handling of that volume.

        45.     To facilitate the reporting of complaints about misconduct by Cloudflare’s

 customers, Cloudflare provides an online web form to allow persons to report accusations of

 various types of abuse.

        46.     The types of accusations that the web form facilitates include those of copyright

 infringement, trademark infringement, child exploitation material, violent threats and

 harassment, and phishing and malware.

        47.     While some categories of abuse accusations address issues (like phishing) that are

 at least related to Cloudflare’s expertise in cybersecurity, other abuse accusations require factual

 and legal determinations well outside the core of Cloudflare’s technical and business

 competencies. Cloudflare takes action in response to accusations of copyright infringement

 while ensuring that those reports reach the agencies, organizations, or other businesses (such as

 hosting providers) that are best positioned to address them.




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        48.     Cloudflare has built a robust and responsible system to support copyright holders

 that have accused Cloudflare customers of copyright infringement while also protecting

 customers against abuse of the accusation system.

        49.     Cloudflare’s policies and practices for addressing accusations of copyright

 infringement by its customers appropriately balance the interests of copyright holders and of

 Cloudflare customers.

        50.     Cloudflare’s services are very different from those of other types of Internet

 services that have attracted attention in relation to copyright infringement controversies.

        51.     Cloudflare does not provide “on-ramp” Internet Service Provider (ISP) type

 Internet access for anyone.

        52.     Cloudflare’s customers are not individual users but website operators, which often

 have their own policies in place to address user-generated copyright infringing content.

        53.     Cloudflare does not provide ISP-type Internet access for any of its customers.

        54.     Cloudflare does not provide ISP-type Internet access for the defendants whom the

 plaintiffs refer to as “Does 1–200” (and to whom Cloudflare will refer to by that phrase below).

        55.     Cloudflare’s services do not assist its customers, including Does 1–200, in

 gaining access to the Internet.

        56.     Cloudflare’s services are not necessary for its customers, including Does 1–200,

 to gain access to the Internet.

        57.     Cloudflare is not, and has not been, a website hosting provider for any of

 Does 1–200.

        58.     Except for a few discrete Cloudflare services that are not and have never been

 used by Does 1–200, Cloudflare does not host, or store, the websites of any customers,




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        59.     Cloudflare does not host, or store, the websites of Does 1–200.

        60.     Cloudflare’s services are not necessary for its customers, including Does 1–200,

 to put their websites on the World Wide Web or Internet.

        61.     Cloudflare cannot remove any content from its customers’ websites.

        62.     Cloudflare cannot control or affect the presence of any content on its customers’

 websites.

        63.     Cloudflare cannot control what content its customers or their hosting providers

 maintain on the customers’ websites.

        64.     Cloudflare does not operate a web search engine.

        65.     Cloudflare’s services do not allow any person to search the web for content,

 including images.

        66.     Cloudflare’s services cannot control or affect what content of its customers

 appears in search engines.

        67.     Cloudflare’s services do not review, rank, suggest, or promote any content of its

 customers’ websites.

        68.     For the overwhelming majority of Cloudflare services, including all services used

 by Does 1–200, Cloudflare cannot remove any customer’s content from the Internet, the World

 Wide Web, or search engines.

        69.     Cloudflare’s services do not make websites searchable on search engines.

        70.     Cloudflare’s services are not necessary for its customers, including Does 1–200,

 to make their websites searchable on search engines.

        71.     Cloudflare works regularly with law enforcement officials to address illegal

 conduct on the Internet.




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        72.     Cloudflare obeys court orders and responds to valid subpoenas to assist

 complainants, including copyright holders.

        73.     Cloudflare has adopted a policy for terminating, in appropriate circumstances,

 subscribers or account holders who are repeat infringers.

        74.     Cloudflare has given notice of its policy for terminating services, in appropriate

 circumstances, to subscribers or account holders who are repeat infringers.

        75.     Cloudflare has reasonably implemented its policy for terminating services, in

 appropriate circumstances, to subscribers or account holders who are repeat infringers.

        76.     Cloudflare has terminated services to subscribers or account holders under its

 policy of terminating services, in appropriate circumstances, to subscribers or account holders

 who are repeat infringers.

        77.     For Cloudflare, the determination of appropriate circumstances for termination of

 services to subscribers and account holders takes into account the nature of the services, namely

 cybersecurity and related services, that Cloudflare provides.

        78.     For Cloudflare, the determination of appropriate circumstances for termination of

 services to subscribers and account holders takes into account the existence of “social

 engineering attacks” to defeat cybersecurity protection and related services for websites.

        79.     For Cloudflare, the determination of appropriate circumstances for termination of

 services to subscribers and account holders takes into account the existence of incorrect, bad-

 faith, and fraudulent notifications of claimed infringement, as discussed in published legal

 opinions and academic studies discussing notifications of claimed infringement and their use.




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        80.     For Cloudflare, implementation of its repeat infringer termination policy takes

 into account whether notifications of claimed infringement accusing its customers have met the

 requirements appropriate for notifications to Cloudflare.

        81.     For Cloudflare, implementation of its repeat infringer termination policy takes

 into account whether an objective, neutral decision maker has made an authoritative

 determination as to whether a Cloudflare customer is a repeat copyright infringer.

        82.     For Cloudflare, implementation of its repeat infringer termination policy takes

 into account the fact that websites using its services may have user-generated content, and that

 such website operators are not “repeat infringers” if they have reasonably implemented a policy

 to address accusations of infringements by their users.

        83.     For Cloudflare, implementation of its repeat infringer termination policy takes

 into account that websites may contain voluminous amounts of content and therefore may

 reasonably be expected to be the target of more abuse reports than individual users would be.

        84.     Cloudflare would respond expeditiously to all valid notifications of claimed

 infringement under section 512(b) of the Copyright Act.

        85.     Cloudflare furnishes copyright holders and their agents a web form-based means

 of reporting accusations of claimed infringement for transmission to hosting providers and

 Cloudflare’s customers, at the accuser’s option.

        86.     When Cloudflare receives non-web form notifications of claimed infringement

 under the Copyright Act that are appropriate for a hosting provider (under section 512(c)) but not

 for it, Cloudflare will respond by directing the accuser to use Cloudflare’s web form for

 reporting abuse.




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                   IV.     COMMUNICATIONS BETWEEN PLAINTIFFS’
                              AGENTS AND CLOUDFLARE

        87.     Plaintiffs authorized a company called XML Shop, LLC dba Counterfeit

 Technology (“Counterfeit Technology”) to send copyright-related communications on their

 behalf to Cloudflare.

        88.     Plaintiffs authorized a company called Incopro to send copyright-related

 communications on their behalf to Cloudflare.

        89.     Counterfeit Technology communicated to Cloudflare through its representative

 Armen Petrossian.

        90.     Incopro communicated to Cloudflare through one or more representatives,

 including Kenneth Dooley and Daniele Ellinger.

        91.     Plaintiffs, through their agent Counterfeit Technology, sent to Cloudflare

 communications referring to the Digital Millennium Copyright Act and claiming to be

 notifications of claimed infringement under that Act.

        92.     The Online Copyright Infringement Liability Limitation Act, part of the Digital

 Millennium Copyright Act, and codified at 17 U.S.C. § 512, provides four safe harbors for four

 different types of online services.

        93.     Those safe harbors preclude liability for damages, or broad injunctions, for

 copyright infringement by service providers who qualify for the safe harbors.

        94.     One category of “service provider,” under 17 U.S.C. § 512(k)(1)(A), is an entity

 offering the transmission, routing, or providing of connections for digital online

 communications, between or among points specified by a user, of material of the user’s

 choosing, without modification to the content of the material as sent or received.




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         95.     Cloudflare is an entity offering the transmission, routing, or providing of

 connections for digital online communications, between or among points specified by a user, of

 material of the user’s choosing, without modification to the content of the material as sent or

 received.

         96.     Another category of “service provider,” under 17 U.S.C. § 512(k)(1)(B), is a

 provider of online services or network access, or the operator of facilities therefor, and includes

 an entity described in 17 U.S.C. § 512(k)(1)(A).

         97.     Cloudflare is a provider of online services or network access, or is the operator of

 facilities therefor.

         98.     The safe harbors under 17 U.S.C. § 512, are optional for online service providers.

 They do not affect the determination of whether an online service provider has committed direct,

 contributory, or vicarious copyright infringement.

         99.     Where an online service provider has not engaged in direct infringement,

 contributory infringement, or vicarious infringement of copyright, the limitation on remedies

 under the safe harbor becomes irrelevant because damages in a copyright lawsuit are relevant

 only where a violation of copyright law by the defendant has occurred.

         100.    The different types of safe harbor for different types of online services reflect and

 accommodate the different technical characteristics of different types of service.

         101.    Section 512(a) of the Copyright Act, 17 U.S.C. § 512(a), provides service

 providers within the definition of section 512(k)(1)(A) a safe harbor, subject to several

 conditions, against certain remedies “for infringement of copyright by reason of the provider’s

 transmitting, routing, or providing connections for, material through a system or network

 controlled or operated by or for the service provider, or by reason of the intermediate and




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 transient storage of that material in the course of such transmitting, routing, or providing

 connections.”

        102.     Plaintiffs’ claims against Cloudflare in this lawsuit arise, at least in part, from

 Cloudflare’s transmitting, routing, or providing connections for, material through a system or

 network controlled or operated by or for Cloudflare, or by reason of the intermediate and

 transient storage of that material in the course of such transmitting, routing, or providing

 connections.

        103.     Section 512(b) of the Copyright Act, 17 U.S.C. § 512(b), provides service

 providers within the definition of section 512(k)(1)(B) a safe harbor, subject to several

 conditions, against certain remedies for infringement of copyright by reason of the intermediate

 and temporary storage of material on a system or network controlled or operated by or for the

 service provider.

        104.     Plaintiffs’ claims against Cloudflare in this lawsuit arise, at least in part, from

 Cloudflare’s intermediate and temporary storage of material on a system or network controlled

 or operated by or for Cloudflare.

        105.     Each of the four safe harbors under 17 U.S.C. § 512, in subsections (a), (b), (c),

 and (d), has a different set of conditions for the optional safe harbor.

        106.     Each of the four safe harbors under 17 U.S.C. § 512, in subsections (a), (b), (c),

 and (d), stands in a different position from the others with respect to notifications of claimed

 infringement.

        107.     Section 512(a) of the Copyright Act, 17 U.S.C. § 512(a), makes no provision for

 notifications of claimed infringement to service providers under that subsection.




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        108.    Section 512(b)(2)(E) of the Copyright Act, 17 U.S.C. § 512(b)(2)(E), incorporates

 all the requirements for a valid notification of claimed infringement by a copyright owner or

 agent under section 512(c)(3) (as set forth below) and adds a requirement that a notification must

 include a statement confirming that the material claimed to be infringing has been removed from

 the originating site or access to it has been disabled or that a court has ordered that the material

 be removed from the originating site or that access to the material on the originating site be

 disabled.

        109.    Section 512(c)(3) of the Copyright Act, 17 U.S.C. § 512(c)(3), provides the

 following requirements for a notification of claimed infringement to service providers that fall

 within that category of service provider:

                (A)     To be effective under this subsection, a notification of claimed

        infringement must be a written communication provided to the designated agent of a

        service provider that includes substantially the following:

                        (i)     A physical or electronic signature of a person authorized to act on

                behalf of the owner of an exclusive right that is allegedly infringed.

                        (ii)    Identification of the copyrighted work claimed to have been

                infringed, or, if multiple copyrighted works at a single online site are covered by a

                single notification, a representative list of such works at that site.

                        (iii)   Identification of the material that is claimed to be infringing or to

                be the subject of infringing activity and that is to be removed or access to which is

                to be disabled, and information reasonably sufficient to permit the service

                provider to locate the material.




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                       (iv)    Information reasonably sufficient to permit the service provider to

                contact the complaining party, such as an address, telephone number, and, if

                available, an electronic mail address at which the complaining party may be

                contacted.

                       (v)     A statement that the complaining party has a good faith belief that

                use of the material in the manner complained of is not authorized by the copyright

                owner, its agent, or the law.

                       (vi)    A statement that the information in the notification is accurate, and

                under penalty of perjury, that the complaining party is authorized to act on behalf

                of the owner of an exclusive right that is allegedly infringed.

        110.    Plaintiffs’ agents Counterfeit Technology and Incopro knew or should have

 known of Cloudflare’s services that fall within services of service providers to which subsections

 (a) and (b) of Section 512 of the Copyright Act, 17 U.S.C. § 512, pertain.

        111.    Plaintiffs’ agents Counterfeit Technology and Incopro knew or should have

 known that the safe harbor for service providers under 17 U.S.C. § 512(a) does not call for a

 response or other action upon receipt of notifications of claimed infringement as a condition of

 the safe harbor.

        112.    Plaintiffs’ agents Counterfeit Technology and Incopro knew or should have

 known the requirements of section 512(b)(2)(E) of the Copyright Act for valid notifications of

 claimed infringement to providers of services described in 17 U.S.C. 512(b).

        113.    Plaintiffs’ agents Counterfeit Technology and Incopro knew or should have

 known the requirements of section 512(c)(3) of the Copyright Act for notifications of claimed




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 infringement to providers of services described in section 512(c) such as hosting providers and

 user-generated content platforms.

        114.    Plaintiffs’ agents Counterfeit Technology and Incopro knew or should have

 known that Cloudflare was not a hosting provider for Does 1–200.

        115.    By the time of these Amended Counterclaims Plaintiffs had never sent Cloudflare,

 directly or through an agent, a valid notification of claimed infringement under section 512(b) of

 the Copyright Act.

        116.    By the time of these Amended Counterclaims Plaintiffs had never sent Cloudflare,

 directly or through an agent, a communication that referred to section 512(b) of the Copyright Act.

        117.    Plaintiffs claim to have sent Cloudflare notifications of claimed infringement

 under section 512(c) of the Copyright Act.

        118.    By the time of these Amended Counterclaims Plaintiffs had not sent Cloudflare

 through their agent Counterfeit Technology any notifications of claimed copyright infringement

 that contained all necessary elements of a valid notification under section 512(c).

        119.    By the time of these Amended Counterclaims Plaintiff Allure Bridals had not sent

 Cloudflare through its agent Incopro any notifications of claimed copyright infringement that

 contained all necessary elements of a valid notification under section 512(c).

        120.    Exhibits A through H to these Amended Counterclaims are examples of

 communications that Plaintiffs’ agent Counterfeit Technology sent to Cloudflare.

        121.    Exhibits A through H are typical of communications that Plaintiffs claim their

 agent Counterfeit Technology emailed to Cloudflare by the time of these Amended

 Counterclaims, which Plaintiffs consider to be notifications of claimed infringement under

 section 512(c) of the Copyright Act.




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        122.    Exhibits E through H to these Amended Counterclaims, ostensibly

 communications by Counterfeit Technology on behalf of Plaintiff Justin Alexander, Inc., do not

 show its correct name as the claimed owner of the copyrights asserted in the exhibits.

        123.    Exhibits A through H to these Amended Counterclaims all omit the complete

 statement required by section 512(c)(3)(A)(v) of the Copyright Act for a valid notification of

 claimed infringement, namely that the complaining party has a good faith belief that use of the

 material in the manner complained of is not authorized by the copyright owner, its agent, or the

 law.

        124.    Exhibits A through H to these Amended Counterclaims all direct their statements

 “to the infringing domain,” and “To Whom it May Concern,” not specifically to Cloudflare.

        125.    Exhibits A through H to these Amended Counterclaims all refer to “a website

 your company hosts.”

        126.    Exhibit I is a Cloudflare webpage explaining its web form for submitting

 accusations of abuse by Cloudflare customers.

        127.    Plaintiffs’ agents knew or should have known the information on that webpage.

        128.    Exhibit J is Cloudflare’s web form for submitting accusations of copyright

 infringement by Cloudflare customers.

        129.    Plaintiffs’ agents were or should have been aware of that web form.

        130.    Exhibits K and L are examples of the data that Plaintiffs’ agent, on their behalf,

 submitted to Cloudflare by the Cloudflare web form for copyright accusations.

        131.    When Cloudflare received from Plaintiffs or their agent accusations of copyright

 infringement by its customers through its web form interface, Cloudflare responded by providing




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 the name and contact information of the hosting provider of the customers who were the subject

 of the accusations.

        132.    When Cloudflare received from Plaintiffs or their agent accusations of copyright

 infringement by its customers through its web form interface, Cloudflare forwarded the

 accusations to its customers and/or their hosting providers, as the accusers directed.

        133.    When Cloudflare received from Plaintiffs or their agent non-web form

 accusations of copyright infringement by its customers that did not comply with the requirements

 of section 512(b) of the Copyright Act, Cloudflare responded by urging the Plaintiffs or their

 agent to use the web form to facilitate transmission of the accusation to their customers or their

 hosting providers, as the accusers may direct.

        134.    According to Plaintiffs, Exhibits M through O to these Amended Counterclaims

 show communications by Incopro on behalf of Plaintiff Allure Bridals to Cloudflare using

 Cloudflare’s abuse web form.

        135.    Exhibits M through O lack information, requested by Cloudflare, that section

 512(c)(3)(A)(ii) of the Copyright Act requires for a valid notification of claimed infringement to

 a hosting provider.

        136.    According to Plaintiffs, Exhibits P through R to these Amended Counterclaims

 show communications by Incopro on behalf of Plaintiff Justin Alexander to Cloudflare using

 Cloudflare’s abuse web form.

        137.    According to Plaintiffs, Exhibits S through U to these Amended Counterclaims

 were communications that Incopro received as agent for Plaintiff Allure Bridals from Cloudflare

 in response to abuse web form submissions to Cloudflare.




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        138.     Exhibits S through U are representative examples of emails that Incopro received

 from Cloudflare in response to abuse web form submissions by Incopro on behalf of Plaintiff

 Allure Bridals. Cloudflare’s practice is to provide one such email response for each different

 website that a complainant includes in an abuse web form submission.

        139.     In each of Exhibits S through U, Cloudflare informed Plaintiff Allure Bridals’

 agent Incopro that “Cloudflare is a network provider offering a reverse proxy, pass-through

 security service. We are not a hosting provider. Cloudflare does not control the content of our

 customers.”

        140.     In each of Exhibits S through U, Cloudflare informed Plaintiff Allure Bridals’

 agent Incopro of the name of the hosting provider of the accused website that was the subject of

 the response.

        141.     In each of Exhibits S through U, Cloudflare informed Allure Bridals’ agent

 Incopro of the “abuse contact” of that hosting provider.

        142.     In each of Exhibits S through U, Cloudflare informed Plaintiff Allure Bridals’

 agent Incopro as follows:


                 We [Cloudflare] have notified our customer of your report. We have
                 forwarded your report on to the responsible hosting provider. You may
                 also direct your report to: 1. The provider where [the website] is hosted
                 (provided above); 2. The owner listed in the WHOIS record for [the
                 website] and/or; 3. The contact listed on the [website].
                 Note: A lookup of the IP for a Cloudflare customer website will show
                 Cloudflare IPs because we are a pass-through network. The actual
                 website is still hosted at the hosting provider indicated above. If the
                 hosting provider has questions, please have the hosting provider contact
                 us directly regarding this site. Due to attempted abuse of our complaint
                 reporting process, we will only provide the IP of the [website] to the
                 responsible hosting provider if they contact us directly at
                 abusereply@cloudflare.com.




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        143.     Plaintiff Allure Bridals has no information or evidence contrary to the statements

 by Cloudflare in Exhibits S through U.

        144.     According to Plaintiffs, Exhibits V through X to these Amended Counterclaims

 were communications that Incopro received as agent for Plaintiff Justin Alexander from

 Cloudflare in response to abuse web form submissions to Cloudflare.

        145.     Exhibits V through X are representative examples of emails that Incopro received

 from Cloudflare in response to abuse web form submissions by Incopro on behalf of Plaintiff

 Justin Alexander. Cloudflare’s practice is to provide one such email in response to an abuse web

 form submission.

        146.     In each of Exhibits V through X, Cloudflare informed Plaintiff Justin Alexander’s

 agent Incopro that “Cloudflare is a network provider offering a reverse proxy, pass-through

 security service. We are not a hosting provider. Cloudflare does not control the content of our

 customers.”

        147.     In each of Exhibits V through X, Cloudflare informed Plaintiff Justin Alexander’s

 agent Incopro of the name of the hosting provider of the accused website that was the subject of

 the response.

        148.     In each of Exhibits V through X, Cloudflare informed Justin Alexander’s agent

 Incopro of the “abuse contact” of that hosting provider.

        149.     In each of Exhibits V through X, Cloudflare informed Plaintiff Justin Alexander’s

 agent Incopro as follows:


                 We [Cloudflare] have notified our customer of your report. We have
                 forwarded your report on to the responsible hosting provider. You may
                 also direct your report to: 1. The provider where [the website] is hosted
                 (provided above); 2. The owner listed in the WHOIS record for [the
                 website] and/or; 3. The contact listed on the [website].



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                Note: A lookup of the IP for a Cloudflare customer website will show
                Cloudflare IPs because we are a pass-through network. The actual
                website is still hosted at the hosting provider indicated above. If the
                hosting provider has questions, please have the hosting provider contact
                us directly regarding this site. Due to attempted abuse of our complaint
                reporting process, we will only provide the IP of the [website] to the
                responsible hosting provider if they contact us directly at
                abusereply@cloudflare.com.

        150.    Plaintiff Justin Alexander has no information or evidence contrary to the

 statements by Cloudflare in Exhibits V through X.

        151.    Cloudflare has reason to believe that hosting providers of its customers generally

 act on valid notifications of claimed infringement that they receive.

        152.    Cloudflare believes, and therefore alleges, that Plaintiff Allure Bridals secured the

 removal of allegedly infringing material from websites by communicating to hosting providers

 whom Cloudflare had identified to one or more of its agents.

        153.    In the alternative, Cloudflare believes, and therefore alleges, that Plaintiff Allure

 Bridals did not follow up with all the hosting providers that Cloudflare identified in responses to

 abuse web form submissions to seek removal of alleged infringing material from those hosting

 services.

        154.    Cloudflare believes, and therefore alleges, that Plaintiff Justin Alexander secured

 the removal of allegedly infringing material from websites by communicating to hosting

 providers whom Cloudflare had identified to one or more of its agents.

        155.    In the alternative, Cloudflare believes, and therefore alleges, that Plaintiff Justin

 Alexander did not follow up with all the hosting providers that Cloudflare identified in responses

 to abuse web form submissions to seek removal of alleged infringing material from those hosting

 services.




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                             V.      THE PLAINTIFFS’ BUSINESS

        156.    Plaintiffs claim to sell wedding and prom dresses.

        157.    Cloudflare believes, and therefore alleges, that Plaintiffs are members of

 American Bridal & Prom Industry Association.

        158.    Cloudflare believes, and therefore alleges, that Plaintiffs have wedding and prom

 dresses manufactured outside the United States.

        159.    Cloudflare believes, and therefore alleges, that Plaintiffs have wedding and prom

 dresses manufactured in China.

        160.    Cloudflare believes, and therefore alleges, that Plaintiffs import wedding and

 prom dresses from China.

        161.    Cloudflare believes, and therefore alleges, that Plaintiffs do not sell wedding and

 prom dresses to consumers online.

        162.    Cloudflare believes, and therefore alleges, that Plaintiffs sell their wedding and

 prom dresses to consumers only through authorized retailers.

        163.    Cloudflare believes, and therefore alleges, that Plaintiffs do not authorize any

 online sales to consumers of their wedding and prom dresses.

        164.    Cloudflare believes, and therefore alleges, that Plaintiffs forbid any online sales to

 consumers of their wedding and prom dresses.

        165.    Cloudflare believes, and therefore alleges, that Plaintiffs consider their wedding

 and prom dresses to be elite, premium products and sell them, or encourage their sale, to

 consumers at prices to match that status.

        166.    Cloudflare believes, and therefore alleges, that Plaintiffs believe that their

 customers are sophisticated and discerning consumers.




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           167.   Cloudflare believes, and therefore alleges, that Plaintiffs market and promote their

 wedding and prom dresses, among other ways, through their websites.

           168.   Cloudflare believes, and therefore alleges, that Plaintiffs have displayed their

 catalogues of their wedding and prom dresses on their websites.

           169.   Cloudflare believes, and therefore alleges, that Plaintiffs believe that their

 websites, and the catalogues of photographs of their wedding and prom dresses, drive retail sales

 of their wedding and prom dresses.

           170.   Cloudflare believes, and therefore alleges, that Plaintiffs have placed on their

 websites all the images that they claim in this lawsuit to have been infringed.

           171.   Cloudflare believes, and therefore alleges, that Plaintiff Allure Bridals placed all

 its images at issue in this lawsuit on one or both of its two websites, at Madison-James.com and

 Allurebridals.com.

           172.   Cloudflare believes, and therefore alleges, that Plaintiff Justin Alexander placed

 all its images at issue in this lawsuit on its website at justinalexander.com.

           173.   Cloudflare believes, and therefore alleges, that Plaintiffs’ websites steer potential

 consumer buyers to physical retail stores or boutiques where the customers may order or

 purchase their wedding and prom dresses.

           174.   Cloudflare believes, and therefore alleges, that all authorized sales of the

 Plaintiffs’ wedding and prom dresses occur at or through retailers or boutiques with physical

 stores.

           175.   Cloudflare believes, and therefore alleges, that at least hours, and perhaps days or

 weeks, generally pass between a customer’s first interaction with the Plaintiffs’ websites and the

 consummation of a purchase from one of the Plaintiffs’ retailers or boutiques.




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        176.    Cloudflare believes, and therefore alleges, that Plaintiffs believe that personnel at

 their retailers or boutiques close the sales of the Plaintiffs’ wedding and prom dresses to

 consumers.

        177.    The Plaintiffs have never communicated directly with Cloudflare regarding

 accusations of copyright infringement by Cloudflare’s customers.

        178.    The Plaintiffs have relied entirely upon one or more agents to communicate with

 Cloudflare regarding accusations of copyright infringement by Cloudflare’s customers.

        179.    Cloudflare believes, and therefore alleges, that Plaintiff Allure Bridals was once a

 customer of Cloudflare, obtaining services under both the paid “Pro” plan and the “Free plan,”

 but later ended its customer relationship with Cloudflare.

                                   VI.   THE DOE DEFENDANTS

        180.    Plaintiffs allege that the Does 1–200 are counterfeiters of their dresses.

        181.    Plaintiffs allege that the Does 1–200 are in China and other countries.

        182.    Plaintiffs’ Complaint refers to default judgments against direct infringers.

        183.    Plaintiffs’ Complaint refers to complaints or accusations that they or their agents

 have sent to direct infringers.

        184.    Plaintiffs allege that they lack a meaningful remedy against Does 1–200.

        185.    Cloudflare believes, and therefore alleges, that Plaintiffs have not tried to obtain

 meaningful remedies against Does 1–200 with respect to their websites or actions at issue in this

 lawsuit before filing this lawsuit.

        186.    Cloudflare believes, and therefore alleges, that Plaintiffs have filed no other suits

 in the United States against Does 1–200 with respect to websites or actions at issue in this

 lawsuit.




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           187.   Plaintiffs have filed other lawsuits in the United States against other alleged

 counterfeiters of their dresses who used infringing images of their dresses to advertise them.

           188.   Cloudflare believes, and therefore alleges, that by the time of the original

 Counterclaims and Answer Plaintiffs had not asked United States Customs to interdict shipments

 of wedding and prom dresses by Does 1–200.

           189.   Cloudflare believes, and therefore alleges, that by the time of the original

 Counterclaims and Answer Plaintiffs had sent no notifications of claimed infringement regarding

 the websites or actions of Does 1–200 at issue in this lawsuit to Google with respect to its search

 engine.

           190.   Cloudflare believes, and therefore alleges, that by the time of the original

 Counterclaims and Answer Plaintiffs had sent no notifications of claimed infringement regarding

 the websites or actions of Does 1–200 at issue in this lawsuit to Microsoft with respect to its

 Bing search engine.

           191.   Cloudflare believes, and therefore alleges, that by the time of the original

 Counterclaims and Answer Plaintiffs had sent no notifications of claimed infringement or other

 accusations regarding the websites or actions of Does 1–200 at issue in this lawsuit to

 MasterCard or Visa with respect to their payment processing for Does 1–200.

           192.   Cloudflare believes, and therefore alleges, that by the time of the original

 Counterclaims and Answer Plaintiffs had sent no notifications of claimed infringement or other

 accusations regarding the websites or actions of Does 1–200 at issue in this lawsuit to other

 payment processors with respect to their payment processing for Does 1–200.

           193.   Cloudflare believes, and therefore alleges, that by the time of the original

 Counterclaims and Answer Plaintiffs had sent no notifications of claimed infringement or other




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 accusations regarding the websites or actions of Does 1–200 at issue in this lawsuit to FedEx, UPS,

 DHL, or other transport companies with respect to their transport of products for Does 1–200.

         194.    Cloudflare believes, and therefore alleges, that by the time of the original

 Counterclaims and Answer Plaintiffs had sent no notifications of claimed infringement or other

 accusations regarding the websites or actions of Does 1–200 at issue in this lawsuit to their own

 manufacturers of wedding and prom dresses.

         195.    Cloudflare believes, and therefore alleges, that by the time of the original

 Counterclaims and Answer Plaintiffs had sent no notifications of claimed infringement regarding

 Does 1–200 to hosting providers whom Cloudflare identified in response to communications by

 Plaintiffs or their agent.

         196.    By the time of these Amended Counterclaims Plaintiffs had served no subpoenas

 on Cloudflare for documents or information regarding Does 1–200 or their websites.

         197.    Cloudflare believes, and therefore alleges, that Plaintiffs have no evidence

 regarding storage of claimed infringing images from the websites of Does 1–200 at issue in this

 lawsuit on hard drives of US consumers.

         198.    Plaintiffs have not alleged that any U.S. consumers possess the allegedly

 infringing images on their hard drives from websites of Does 1–200 at issue in this lawsuit.

         199.    Cloudflare believes, and therefore alleges, that Plaintiffs have not pursued any

 remedies against US consumers with allegedly infringing images on their hard drives from

 websites of Does 1–200 at issue in this lawsuit.

         200.    Cloudflare believes, and therefore alleges, that Cloudflare replied to every

 communication to it from Plaintiffs or their agent.




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        201.    Cloudflare forwarded information that Plaintiffs or their agent submitted through

 Cloudflare’s web form for abuse complaints to Cloudflare’s customers or their hosting providers,

 according to direction of Plaintiffs or their agents.

        202.    By the time of these Amended Counterclaims Plaintiffs or their agent had never

 submitted to Cloudflare any information regarding caches by Cloudflare of material from the

 websites of Does 1–200 that was claimed to infringe upon Plaintiffs’ works.

        VII.    NO HARMS TO PLAINTIFFS FROM CLOUDFLARE’S SERVICES

        203.    Plaintiffs seek statutory damages.

        204.    Plaintiffs have no evidence of actual damages they have suffered for which

 Cloudflare is responsible.

        205.    By the time of the original Counterclaims and Answer Plaintiffs had not sold

 copies of their photographs.

        206.    By the time of the original Counterclaims and Answer Plaintiffs had not licensed

 their photographs in return for licensing revenue.

        207.    By the time of the original Counterclaims and Answer Plaintiffs had not exploited

 their photographs other than to advertise or promote the retail sales of their wedding and prom

 dresses.

        208.    Plaintiffs have no evidence of sales they lost because of the alleged direct

 infringements by Does 1–200.

        209.    Plaintiffs have no evidence of U.S. consumers buying counterfeits of their dresses

 who would have bought Plaintiffs’ dresses but for the alleged direct infringements by Does 1–200.

        210.    Plaintiffs have no evidence of U.S. consumers buying counterfeits of their dresses

 who would have bought Plaintiffs’ dresses but for Cloudflare’s services to the alleged direct

 infringements by Does 1–200.


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         211.        None of Does 1–200 had “Enterprise” or “Business” accounts with Cloudflare.

         212.        Most of the Does 1–200 had free accounts with Cloudflare, from which

 Cloudflare derived no revenue.

                        VIII. DECLARATORY JUDGMENT JURISDICTION

         213.        This Court has jurisdiction over the Amended Counterclaims pursuant to

 28 U.S.C. § 1331 (federal question), 28 U.S.C. § 1338(a) (original jurisdiction of federal

 copyright claims), and 28 U.S.C. § 2201 (the Declaratory Judgment Act).

         214.        The Court has personal jurisdiction over Plaintiffs because, among other things,

 they have purposefully availed themselves of the privilege of conducting their litigation business

 against Cloudflare in this district.

         215.        Venue in this district is proper for these Amended Counterclaims against

 Plaintiffs under 28 U.S.C. §§ 1391(b)(1), 1391(b)(2), and 1391(c)(2).

               IX.       THE ARTFUL OMISSIONS IN PLAINTIFFS’ COMPLAINT

         216.        Plaintiffs’ Complaint omits numerous facts that are directly relevant to legal

 issues in this case, including facts that Plaintiffs or their agents know or should have known.

         217.        Plaintiffs’ Complaint included thousands of pages of exhibits.

         218.        None of those thousands of pages of exhibits included any emailed notifications

 of claimed infringement that Plaintiffs’ agents sent to Cloudflare.

         219.        None of those thousands of pages of exhibits included any reproductions of abuse

 web form submissions by Plaintiffs’ agents to Cloudflare.

         220.        None of those thousands of pages even identified Plaintiffs’ agents.

         221.        None of those thousands of pages of exhibits included any of Cloudflare’s

 responses to the emailed notifications of claimed infringement that Plaintiffs’ agents sent to

 Cloudflare.


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        222.    None of those thousands of pages of exhibits included any of Cloudflare’s

 responses to the abuse web form submissions by Plaintiffs’ agents.

        223.    Plaintiffs’ Complaint nowhere stated that it was incorporating any communications

 to or from Cloudflare by reference.

        224.    Plaintiffs’ Complaint nowhere mentioned what services of Cloudflare were

 relevant to the safe harbors’ “service provider” definitions in Section 512(k) of the Copyright

 Act, 17 U.S.C. § 512(k)(1).

        225.    Plaintiffs’ Complaint made no mention of section 512(a) of the Copyright Act,

 17 U.S.C. § 512(a).

        226.    Plaintiffs’ Complaint made no mention of section 512(b) of the Copyright Act,

 17 U.S.C. § 512(b).

        227.    Exhibits A through H and M through X to these Amended Counterclaims provide

 information, which Plaintiffs possessed (either directly or through their agents) and nevertheless

 kept out of view in their Complaint, that bears directly on the dispute between the Plaintiffs and

 Cloudflare in this lawsuit.

        228.    Plaintiffs’ Complaint also artfully omitted key truthful and factual information

 that would have exposed the falsehoods of their Complaint.

        229.    For example, Plaintiffs accuse Cloudflare of hiding its customers’ IP addresses to

 protect them from infringement claims. But Plaintiffs omitted the facts that Cloudflare’s reverse

 proxy services obscure its customers’ origin IP addresses for important security reasons including

 the prevention of DDoS attacks; Cloudflare responds to subpoenas for customer information

 including origin IP address information under Section 512(h) of the Copyright Act, 17 U.S.C.

 § 512(h); and the Plaintiffs have never sent any subpoena to Cloudflare for such information.




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        230.    Plaintiffs also make much of their claim that Cloudflare speeds up the websites of

 the Doe Defendants. But they omit actual statistics for the average speed benefit provided to

 websites by Cloudflare's services, which is in the milliseconds, and they fail to place that

 difference in the context of speed variation among high-speed Internet services, WiFi network

 speeds, and other variables that generally make a greater difference to the experience of

 individual users.

        231.    Cloudflare brings these Amended Counterclaims seeking declaratory relief

 because it is entitled, at the pleading stage, to establish the relevant facts and resolve or narrow

 issues that Plaintiffs artfully omitted and concealed in their Complaint. Establishing a fuller

 universe of facts at the pleadings stage will materially advance and expedite the litigation—a

 core purpose of declaratory relief—and will likely make the case amenable to judgment in favor

 of Cloudflare on the pleadings.

                               X.      FIRST CAUSE OF ACTION:

               DECLARATION OF NON-INFRINGEMENT BY CLOUDFLARE

        232.    Cloudflare hereby incorporates the earlier paragraphs of its Amended

 Counterclaims by reference.

        233.    Cloudflare asserts this cause of action to establish facts and obtain a declaration

 on key, and potentially dispositive, issues that Plaintiffs steered away from in their Complaint.

        234.    Plaintiffs’ Complaint avoids discussion of any facts pertinent to the elements of a

 claim of contributory infringement under the Supreme Court’s landmark decision in Metro-

 Goldwyn-Mayer Studios Inc., v. Grokster, Ltd., 545 U.S. 913, 919, 936-37 (2005).

        235.    Plaintiffs do not assert or claim that Cloudflare has engaged in any direct

 infringement of the Plaintiffs’ works.




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        236.    Plaintiffs do not assert or claim that Cloudflare has intentionally induced

 infringement of the Plaintiffs’ works.

        237.    Cloudflare’s services are capable of substantial non-infringing uses.

        238.    Cloudflare does nothing to induce or encourage infringement of Plaintiffs’ works.

        239.    Cloudflare has made no clear expression or taken other affirmative steps to foster

 infringement of Plaintiffs’ works.

        240.    Insisting on valid notifications of claimed infringement neither evidences nor

 constitutes intentional inducement of copyright infringement.

        241.    Plaintiffs have made accusations of infringement against some Cloudflare

 customers.

        242.    By the time of these Amended Counterclaims Plaintiffs had not provided

 Cloudflare with any court decisions finding infringement by Cloudflare customers whom they

 accuse of infringing the Plaintiffs’ works.

        243.    By the time of these Amended Counterclaims Plaintiffs had not sought or

 obtained any injunctions against Does 1–200.

        244.    By the time of these Amended Counterclaims Plaintiffs had not provided

 Cloudflare with any objective, neutral determinations finding infringement by any Cloudflare

 customers whom they accuse of infringing the Plaintiffs’ works.

        245.    By the time of these Amended Counterclaims Plaintiffs had not provided

 Cloudflare with conclusive proof of infringement by any of Cloudflare’s customers.

        246.    A conclusive determination of infringement requires knowledge of, and

 assessment of, multiple facts.




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         247.   A conclusive determination of direct infringement requires knowledge by a

 factfinder of, and assessment of, among other things who the claimed owner of the copyright is;

 whether the claimed owner was the author or a successor in interest to the author of the work;

 whether the work is an original work of authorship; whether the work is copyrightable subject

 matter; who the alleged infringer is; whether the alleged infringer has a relationship with the

 claimed copyright owner, a predecessor of the owner, or an agent of the claimed owner, and in

 particular whether there has been a license or other consent; and whether the use of the work is a

 fair use.

         248.   A conclusive determination of contributory or vicarious infringement by a

 website, such as Cloudflare’s customers, turns in part upon an assessment of any direct

 infringement that is alleged to underlie the contributory or vicarious infringement and then an

 assessment of facts bearing upon potential contributory or vicarious infringement.

         249.   A conclusive determination of whether a Cloudflare customer is entitled to one or

 more of the optional safe harbors under the Copyright Act depends upon still more facts,

 including the satisfaction of various conditions.

         250.   Plaintiffs have not, by the time of these Amended Counterclaims, served any of

 Cloudflare’s customers with process in this lawsuit.

         251.   Plaintiffs have not, by the time of these Amended Counterclaims, noticed the

 default of any of Cloudflare’s customers in this lawsuit.

         252.   Plaintiffs have not, by the time of these Amended Counterclaims, obtained a

 default judgment against any of Cloudflare’s customers in this lawsuit.

         253.   The filing of the Complaint in this action did not prove infringement by

 Does 1–200.




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        254.    Plaintiffs have yet to prove infringement by Does 1–200 as a matter of law.

        255.    Cloudflare has no direct actual knowledge of infringements of Plaintiffs’ works

 by Does 1–200.

        256.    Cloudflare has no actual knowledge of infringements of Plaintiffs’ works by

 Does 1–200 based upon the accusations by Plaintiffs.

        257.    Plaintiffs do not allege or claim that, but for Cloudflare’s services, the

 infringements by Does 1–200 would have been immaterial.

        258.    Cloudflare believes, and therefore alleges, that Plaintiffs believe the infringements

 by Does 1–200 would be material infringements of their works even without Cloudflare’s

 services.

        259.    Any speed difference Cloudflare makes to the loading of a website, web page, or

 image is significantly smaller than the speed difference between an online payment system and

 an offline payment system such as use of a check or money order.

        260.    Any speed difference Cloudflare makes to the loading of a website, web page, or

 image is significantly smaller than the speed difference between getting an Internet search result

 and making an online purchase on the one hand and getting a search result and making an

 in-store purchase from a bridal retailer or boutique on the other hand.

        261.    Cloudflare does not cause any infringements of Plaintiffs’ works by Does 1–200.

        262.    Any infringement of Plaintiffs’ works by Does 1–200 would not end in the

 absence of Cloudflare’s services.

        263.    Cloudflare’s services do not make it easier to find any alleged infringements of

 Plaintiffs’ works by Does 1–200.




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        264.    There are no simple measures available to Cloudflare to prevent further damage to

 Plaintiffs’ works by Does 1–200.

        265.    Cloudflare has not failed to take any simple measures available to it to prevent

 further damage to Plaintiffs’ works by Does 1–200.

        266.    Cloudflare does not aid and abet any infringements of Plaintiffs’ works by

 Does 1–200.

        267.    For these reasons Cloudflare asks for a declaration that it has not infringed upon

 any of the Plaintiffs’ copyright rights.

                              XI.     SECOND CAUSE OF ACTION:

               DECLARATION OF NO PROOF OF DIRECT INFRINGEMENT
                  BY DOES 1–200 BY THE TIME OF THE COMPLAINT

        268.    Cloudflare hereby incorporates the earlier paragraphs of its Amended

 Counterclaims by reference.

        269.    Cloudflare asserts this cause of action to establish facts and obtain a declaration

 on key, and potentially dispositive, issues that Plaintiffs steered away from in their Complaint.

        270.    In their Complaint, the Plaintiffs have not proved the infringements they alleged

 against Does 1–200.

        271.    Before their Complaint, the Plaintiffs had not proved to Cloudflare the

 infringements they now allege against Does 1–200.

        272.    The purpose of this lawsuit, and of trial or other proceedings, is for Plaintiffs to

 prove the infringements they have alleged.

        273.    The mere filing of their Complaint in this case did not constitute proof of

 infringement of the Plaintiffs’ works by any defendant.




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        274.     Plaintiffs never provided Cloudflare with any adjudication or other decision by an

 objective third party of any infringements of their works by Does 1–200 before the filing of the

 Complaint.

        275.     For these reasons, Cloudflare asks the Court for a declaration that, at the time of

 the Complaint, Plaintiffs had provided Cloudflare no proof of actual direct infringements of their

 rights by Does 1–200.

                               XII.   THIRD CAUSE OF ACTION:

            DECLARATION OF NO VALID NOTIFICATIONS OF CLAIMED
           INFRINGEMENT BY PLAINTIFFS UNDER 17 U.S.C. § 512(B)(2)(E).

        276.     Cloudflare hereby incorporates the earlier paragraphs of its Amended

 Counterclaims by reference.

        277.     Cloudflare asserts this cause of action to establish facts and obtain a declaration

 on a key, and potentially dispositive, issue that Plaintiffs steered away from in their Complaint.

        278.     Plaintiffs never provided Cloudflare with notifications of claimed infringement

 satisfying all the requirements of 17 U.S.C. § 512(b)(2)(E).

        279.     For these reasons, Cloudflare asks for a declaration that Plaintiffs provided

 Cloudflare with no valid notifications of claimed infringement of their works by Does 1–200 in

 accordance with 17 U.S.C.§ 512(b)(2)(E).

                             XIII. FOURTH CAUSE OF ACTION:

               DECLARATION OF CLOUDFLARE’S ENTITLEMENT TO SAFE
               HARBOR UNDER SECTION 512(A) OF THE COPYRIGHT ACT

        280.     Cloudflare hereby incorporates the earlier paragraphs of its Amended

 Counterclaims by reference.

        281.     Cloudflare asserts this cause of action to establish facts and obtain a declaration

 on key, and potentially dispositive, issues that Plaintiffs steered away from in their Complaint.


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        282.    Cloudflare offers the transmission, routing, or providing of connections for digital

 online communications, between or among points specified by a user, of material of the user’s

 choosing, without modification to the content of the material as sent or received.

        283.    Cloudflare is thus a “service provider” within the meaning of 17 U.S.C. §§ 512(a)

 and 512(k)(1)(A).

        284.    Plaintiffs seek to impose liability on Cloudflare for transmitting, routing, or

 providing connections for, material through a system or network controlled or operated by or for

 it, or by reason of the intermediate and transient storage of that material in the course of such

 transmitting, routing, or providing connections.

        285.    Cloudflare’s transmissions of the material from Does 1–200 were initiated by or

 at the direction of a person other than the Cloudflare.

        286.    Plaintiffs have no evidence that Cloudflare’s transmissions of the material from

 Does 1–200 were not initiated by or at the direction of a person other than the Cloudflare.

        287.    Cloudflare’s transmission, routing, provision of connections, or storage is carried

 out through an automatic technical process without selection of the material by Cloudflare.

        288.    Plaintiffs have no evidence that Cloudflare’s transmission, routing, provision of

 connections, or storage is not carried out through an automatic technical process without

 selection of the material by Cloudflare.

        289.    Cloudflare does not select the recipients of the material except as an automatic

 response to the request of another person.

        290.    Plaintiffs have no evidence that Cloudflare selects the recipients of the material

 except as an automatic response to the request of another person.




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        291.    No copy of the material made by Cloudflare’s system or network in the course of

 such intermediate or transient storage is maintained on the system or network in a manner

 ordinarily accessible to anyone other than anticipated recipients, and no such copy is maintained

 on the system or network in a manner ordinarily accessible to such anticipated recipients for a

 longer period than is reasonably necessary for the transmission, routing, or provision of

 connections.

        292.    Plaintiff has no evidence that any copy of the material made by Cloudflare’s

 system or network in the course of intermediate or transient storage is maintained on the system

 or network in a manner ordinarily accessible to anyone other than anticipated recipients, or that

 any such copy is maintained on the system or network in a manner ordinarily accessible to such

 anticipated recipients for a longer period than is reasonably necessary for the transmission,

 routing, or provision of connections.

        293.    The material from Does 1–200 is transmitted through Cloudflare’s system or

 network without modification of its content.

        294.    Plaintiffs have no evidence that material from Does 1–200 is transmitted through

 Cloudflare’s system or network with modification of its content.

        295.    Cloudflare has adopted and reasonably implemented, and informs subscribers and

 account holders of the service provider’s system or network of, a policy that provides for the

 termination in appropriate circumstances of subscribers and account holders of the service

 provider’s system or network who are repeat infringers.

        296.    Plaintiffs have no evidence that Cloudflare has not adopted and reasonably

 implemented, or does not inform subscribers and account holders of Cloudflare’s system or




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 network of, a policy that provides for the termination in appropriate circumstances of subscribers

 and account holders of the service provider’s system or network who are repeat infringers.

        297.     Cloudflare accommodates and does not interfere with technical measures that are

 used by copyright owners to identify or protect copyrighted works and (A) have been developed

 pursuant to a broad consensus of copyright owners and service providers in an open, fair,

 voluntary, multi-industry standards process; (B) are available to any person on reasonable and

 nondiscriminatory terms; and (C) do not impose substantial costs on service providers or

 substantial burdens on their systems or networks.

        298.     Plaintiffs have no evidence that Cloudflare does not accommodate, or interferes

 with, technical measures that are used by copyright owners to identify or protect copyrighted

 works and (A) have been developed pursuant to a broad consensus of copyright owners and

 service providers in an open, fair, voluntary, multi-industry standards process; (B) are available

 to any person on reasonable and nondiscriminatory terms; and (C) do not impose substantial

 costs on service providers or substantial burdens on their systems or networks.

        299.     For these reasons, Cloudflare is entitled to a declaration that it satisfies the safe

 harbor under 17 U.S.C. §512(a).

                               XIV. FIFTH CAUSE OF ACTION:

               DECLARATION OF CLOUDFLARE’S ENTITLEMENT TO SAFE
               HARBOR UNDER SECTION 512(B) OF THE COPYRIGHT ACT

        300.     Cloudflare hereby incorporates the earlier paragraphs of its Amended

 Counterclaims by reference.

        301.     Cloudflare asserts this cause of action to establish facts and obtain a declaration

 on key, and potentially dispositive, issues that Plaintiffs steered away from in their Complaint.




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        302.    Cloudflare offers intermediate and temporary storage of material on a system or

 network controlled or operated by or for it.

        303.    Cloudflare is thus a “service provider” within the meaning of 17 U.S.C. §§ 512(b)

 and 512(k)(1)(B).

        304.    Plaintiffs seek to impose liability on Cloudflare for the intermediate and

 temporary storage of material from Does 1–200 on a system or network controlled or operated

 by or for Cloudflare.

        305.    The material is made available online by persons other than Cloudflare.

        306.    Plaintiffs have no evidence to the contrary of paragraph 305.

        307.    The material is transmitted from Does 1–200 through Cloudflare’s system or

 network to persons other than Does 1–200 at the direction of those persons other than

 Does 1–200.

        308.    Plaintiffs have no evidence to the contrary of paragraph 307.

        309.    The storage is carried out through an automatic technical process for the purpose

 of making the material available to users of the system or network who, after the material is

 transmitted as described above, request access to the material from Does 1–200.

        310.    Plaintiffs have no evidence to the contrary of paragraph 309.

        311.    The material from Does 1–200 is transmitted to the subsequent users without

 modification to its content from the manner in which the material was transmitted from Does 1–

 200.

        312.    Plaintiffs have no evidence to the contrary of paragraph 311.

        313.    Cloudflare complies with rules concerning the refreshing, reloading, or other

 updating of the material when specified by Does 1–200 in accordance with a generally accepted




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 industry standard data communications protocol for the system or network through which

 Does 1–200 make the material available, unless Does 1–200 used the rules to prevent or

 unreasonably impair Cloudflare’s intermediate storage.

        314.    Plaintiffs have no evidence to the contrary of paragraph 313.

        315.    Cloudflare does not interfere with the ability of technology associated with the

 material to return to Does 1–200 the information that would have been available to Does 1–200

 if the material had been obtained by the subsequent users directly from Does 1–200 so long as

 the technology does not significantly interfere with the performance of the provider’s system or

 network or with the intermediate storage of the material; is consistent with generally accepted

 industry standard communications protocols; and does not extract information from the

 Cloudflare’s system or network other than the information that would have been available to

 Does 1–200 if the subsequent users had gained access to the material directly from Does 1–200.

        316.    Plaintiffs have no evidence to the contrary of paragraph 315.

        317.    If Does 1–200 have in effect a condition that a person must meet prior to having

 access to the material, such as a condition based on payment of a fee or provision of a password

 or other information, Cloudflare permits access to the stored material in significant part only to

 users of its system or network that have met those conditions and only in accordance with those

 conditions.

        318.    Plaintiffs have no evidence to the contrary of paragraph 317.

        319.    If Does 1–200 make material available online without the authorization of

 copyright owners of the material, Cloudflare responds expeditiously to remove, or disable access

 to, the cached material that is claimed to be infringing upon receiving a notification of claimed

 infringement as described in 17 U.S.C. § 512(c)(3) if (i) the material has previously been




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 removed from the originating site or access to it has been disabled, or a court has ordered that the

 material be removed from the originating site or that access to the material on the originating site

 be disabled; and (ii) the party giving the notification includes in the notification a statement

 confirming that the material has been removed from the originating site or access to it has been

 disabled or that a court has ordered that the material be removed from the originating site or that

 access to the material on the originating site be disabled.

        320.    Plaintiffs have no evidence to the contrary of paragraph 319.

        321.    For these reasons, Cloudflare is entitled to a declaration that it satisfies the safe

 harbor under 17 U.S.C. §512(b).

                                      PRAYER FOR RELIEF

        Cloudflare asks that the Court enter judgment in its favor and against Plaintiffs on its

 Amended Counterclaims; that the Court adjudge that Cloudflare has not infringed upon Plaintiffs’

 copyrights or otherwise violated Plaintiffs’ rights; that the Court adjudge that Cloudflare has no

 liability to either Plaintiff; that the Court adjudge that Cloudflare is not liable for any monetary

 relief or for any injunctive relief beyond the scope that section 512(j) authorizes, even in the case

 of a finding of infringement; that the Court award Cloudflare its attorneys’ fees and full costs

 against both Plaintiffs jointly and severally pursuant to the Copyright Act, 17 U.S.C. §§ 505 and

 court rule; and that the Court grant all other relief as it deems proper.


                                    ANSWER TO COMPLAINT

        Cloudflare hereby restates its original answer and responds to all numbered paragraphs of

 the Complaint. Cloudflare does not respond to the table of contents, headings, and subheadings

 of the Complaint as they are an outline of the Complaint that requires no response. Cloudflare




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 does not need to respond to paragraphs 117-126 of the Complaint because they are not directed

 to it, but it responds to them in an abundance of caution.

        1.      Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 1.

        2.      Cloudflare admits the allegations of paragraph 2.

        3.      Cloudflare denies the first sentence of paragraph 3. Cloudflare lacks knowledge

 to admit or deny whether the defendants whom Plaintiffs accuse of being “Infringing website

 Defendants” operate infringing websites and therefore denies the allegation implicit in the use of

 that phrase. Cloudflare lacks knowledge to admit or deny the remaining allegations of paragraph

 3 and therefore denies them.

        4.      Cloudflare lacks knowledge to admit or deny whether the defendants whom

 Plaintiffs accuse of being “Infringing Website Defendants” operate infringing websites and

 therefore denies the allegation implicit in the use of that phrase. Cloudflare lacks knowledge to

 admit or deny the other allegations and therefore denies the remainder of paragraph 4.

        5.      Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare lacks knowledge to admit or deny the other

 allegations and therefore denies the remainder of paragraph 5.

        6.      Cloudflare denies the allegations of paragraph 6.

        7.      Cloudflare denies the first and third sentences of paragraph 7 of the Complaint.

 Cloudflare further denies any “campaign of infringement” on its part, to the extent the second

 sentence implies Cloudflare is responsible for such a campaign. Cloudflare lacks knowledge to

 admit or deny the other allegations and therefore denies the remainder of paragraph 7.




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        8.      Cloudflare denies the first two sentences of paragraph 8. Cloudflare lacks

 knowledge to admit or deny whether the websites that Plaintiffs refer to as “Infringing Websites”

 are indeed infringing and therefore denies the allegation implicit in the use of that phrase.

 Cloudflare lacks knowledge to admit or deny the other allegations and therefore denies the

 remainder of paragraph 8.

        9.      Cloudflare denies the allegations of paragraph 9.

        10.     Cloudflare admits that, on some occasions, its system stores static or dynamic

 content from its customers’ websites by an automated process called “caching,” to which 17

 U.S.C. § 512(b) specifically refers. Cloudflare admits that, on some occasions, Cloudflare’s

 network may serve cached material to a requester from a data center closes to the requester.

 Cloudflare denies the remaining allegations of paragraph 10.

        11.     Cloudflare denies the allegations of paragraph 11.

        12.     Cloudflare denies the allegations of paragraph 12.

        13.     Cloudflare denies that it has ever received a valid notification of claimed

 infringement from Plaintiffs that was appropriate for its services according to 17 U.S.C. § 512(b)

 and met the requirements of section 512(b)(2)(E) for the notifications. Cloudflare admits that

 The Digital Millennium Copyright Act of 1998 (“DMCA”), 17 U.S.C. § 512, provides a “safe

 harbor” to internet service providers, such as Cloudflare, who have adopted and reasonably

 implemented policies for the termination, in appropriate circumstances, of subscribers of the

 service provider’s system who are repeat infringers. Cloudflare admits that it has adopted and

 reasonably implemented a policy for termination, in appropriate circumstances, of subscribers or

 account holders who are repeat infringers. Cloudflare believes, and therefore admits, that it

 responded to every communication from Plaintiffs. Cloudflare admits that, in response to each




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 web form-based accusation of infringement from Plaintiffs, it had passed the accusation to its

 customer and to the hosting provider of its customer, depending on the direction of the Plaintiffs

 or their agent, because those entities—but not Cloudflare--had the ability to remove material

 from the customers’ websites in response to the accusations. Cloudflare denies the remainder of

 paragraph 13.

        14.      Cloudflare lacks knowledge to admit or deny whether the defendants whom

 Plaintiffs accuse of being “Infringing Website Defendants” operate infringing websites and

 therefore denies the allegation implicit in the use of that phrase. Cloudflare further lacks

 knowledge to admit or deny allegations regarding Blueangelhost.com. Cloudflare denies the

 remainder of paragraph 14.

        15.      Cloudflare denies the first sentence of paragraph 15. Cloudflare lacks knowledge

 to admit or deny the other allegations and therefore denies the remainder of paragraph 15.

        16.      Cloudflare admits that Plaintiffs are asserting claims against Cloudflare for

 alleged contributory copyright infringement. Cloudflare denies the remainder of paragraph 16.

        17.      Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 17.

        18.      Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 18.

        19.      Cloudflare admits the allegations of paragraph 19.

        20.      Cloudflare lacks knowledge to admit or deny whether the defendants whom

 Plaintiffs accuse of being “Infringing Website Defendants” operate infringing websites and

 therefore denies the allegation implicit in the use of that phrase. Cloudflare further lacks




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 knowledge to admit or deny the first sentence of paragraph 20. Cloudflare denies the second

 sentence of the paragraph. No answer is necessary for the remainder of paragraph 20.

        21.     Cloudflare lacks knowledge to admit or deny whether the defendants whom

 Plaintiffs accuse of being “Infringing Website Defendants” operate infringing websites and

 therefore denies the allegation implicit in the use of that phrase. No further answer is necessary

 for paragraph 21.

        22.     Cloudflare admits that Plaintiffs have attached three exhibits labeled Exhibit 3,

 Exhibit 4, and Exhibit 5 to the Complaint. Cloudflare denies that Exhibit 3 contains

 communications that Plaintiffs sent to Cloudflare. Cloudflare denies that it has ever received a

 notification of claimed infringement from Plaintiffs that met the requirements of 17 U.S.C.

 § 512(b). Cloudflare denies that “one URL might contain . . . multiple infringing images of the

 same dress.” Cloudflare lacks knowledge to admit or deny the other allegations and therefore

 denies the remainder of paragraph 22.

        23.     Cloudflare admits that this is a civil action seeking damages and injunctive relief

 under the copyright laws of the United States, 17 U.S.C. § 101 et seq. Cloudflare denies the

 remainder of paragraph 23.

        24.     Cloudflare admits the allegations of paragraph 24.

        25.     Cloudflare denies the allegations of paragraph 25.

        26.     Cloudflare lacks knowledge to admit or deny whether the defendants whom

 Plaintiffs accuse of being “Infringing Website Defendants” operate infringing websites and

 therefore denies the allegation implicit in the use of that phrase. Cloudflare lacks knowledge to

 admit or deny the other allegations and therefore denies the remainder of paragraph 26.

        27.     Cloudflare denies the allegations of paragraph 27.




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        28.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 28.

        29.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 29.

        30.     Cloudflare believes, and therefore admits, that Allure operates two websites,

 Madison-James.com and Allurebridals.com, where it promotes its products to consumers.

 Cloudflare lacks knowledge to admit or deny the other allegations and therefore denies the

 remainder of paragraph 30.

        31.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 31.

        32.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 32.

        33.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 33.

        34.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 34.

        35.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 35.

        36.     Cloudflare believes, and therefore admits, that Justin Alexander operates a

 website where it promotes its products to consumers at justinalexander.com and that it uses that

 website to display its entire catalog of product and to refer brides to stores in their local markets.

 Cloudflare lacks knowledge to admit or deny the other allegations and therefore denies the

 remainder of paragraph 36.




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        37.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 37.

        38.     Cloudflare believes, and therefore admits, that Plaintiffs create photoshoots with

 multiple views of each of their dresses to be displayed to consumers on Plaintiffs’ websites.

 Cloudflare lacks knowledge to admit or deny the other allegations and therefore denies the

 remainder of paragraph 38.

        39.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 39.

        40.     Cloudflare believes, and therefore admits, that Plaintiffs display images on their

 websites. Cloudflare lacks knowledge to admit or deny the other allegations and therefore denies

 the remainder of paragraph 40.

        41.     Cloudflare believes, and therefore admits, that the Plaintiffs’ websites display

 their entire catalogues of their products, as shown in the Plaintiffs’ images, and to refer brides to

 stores in their local markets. Cloudflare lacks knowledge to admit or deny the other allegations

 and therefore denies the remainder of paragraph 41.

        42.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 42.

        43.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 43.

        44.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 44.

        45.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 45.




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        46.     Cloudflare lacks knowledge to admit or deny whether the defendants whom

 Plaintiffs accuse of being “Infringing Website Defendants” operate infringing websites and

 therefore denies the allegation implicit in the use of that phrase. Cloudflare lacks knowledge to

 admit or deny the other allegations and therefore denies the remainder of paragraph 46.

        47.     Cloudflare lacks knowledge to admit or deny whether the defendants whom

 Plaintiffs accuse of being “Infringing Website Defendants” operate infringing websites and

 therefore denies the allegation implicit in the use of that phrase. Cloudflare lacks knowledge to

 admit or deny the other allegations and therefore denies the remainder of paragraph 47.

        48.     Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare lacks knowledge to admit or deny the other

 allegations and therefore denies the remainder of paragraph 48.

        49.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 49.

        50.     Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare lacks knowledge to admit or deny the other

 allegations and therefore denies the remainder of paragraph 50.

        51.     Cloudflare lacks knowledge to admit or deny whether the defendants whom

 Plaintiffs accuse of being “Infringing Website Defendants” operate infringing websites and

 therefore denies the allegation implicit in the use of that phrase. Cloudflare lacks knowledge to

 admit or deny the allegations and therefore denies the allegations of paragraph 51.

        52.     Cloudflare denies the allegations of paragraph 52.




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        53.      Cloudflare admits the allegations of paragraph 53.

        54.      Cloudflare admits the allegations of paragraph 54.

        55.      Cloudflare admits the quotation in the body of the paragraph except that it denies

 that a CDN always serves a client (Internet user requesting content) with content from the closest

 data center. Cloudflare denies that the quotation is at the link stated in the paragraph. Cloudflare

 admits that “static content” refers to content that normally does not change over time. Cloudflare

 denies the definition of “dynamic content” in footnote 2. Cloudflare denies the remainder of

 paragraph 55.

        56.      Cloudflare admits that the first two sentences accurately describe caching services

 at a high level of generalization. Cloudflare otherwise denies the allegations of paragraph 56.

        57.      Cloudflare admits the authenticity of the quotation but denies the remaining

 allegations of paragraph 57.

        58.      Cloudflare admits that the allegation of paragraph 58 was accurate at some point

 in the past but otherwise denies the allegation.

        59.      Cloudflare denies that it proclaims the quotation in the paragraph but admits the

 remaining allegations of paragraph 59.

        60.      Cloudflare admits the allegations of paragraph 60.

        61.      Cloudflare admits the allegations of paragraph 61.

        62.      Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare lacks knowledge to admit or deny the other

 allegations and therefore denies the remainder of paragraph 62.




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        63.     Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare admits that, when Cloudflare provides authoritative

 nameserver service for a customer’s website, Cloudflare’s system generally uses a network

 technology called “Anycast” to cause Internet Service Providers (ISPs) to route initial domain

 name system (or DNS) lookups for that website domain to a Cloudflare data center, as opposed

 to the host server for the customer’s website. Cloudflare lacks knowledge to admit or deny the

 other allegations and therefore denies the remainder of paragraph 63.

        64.     Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation implicit

 in the use of that phrase. Cloudflare admits that, once a customer designates a Cloudflare

 nameserver as the authoritative nameserver for its website, later requests from Internet users for

 that website will generally pass through Cloudflare’s automated network of data centers, and

 Cloudflare admits that this function is known as “reverse proxying.” Cloudflare further admits

 that, for websites of customers that use Cloudflare’s services, the initial DNS lookup for a domain

 that an Internet user seeks to reach will generally automatically return the IP address of a

 Cloudflare data center. Cloudflare denies the remainder of paragraph 64.

        65.     Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare denies the remainder of paragraph 65.

        66.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 66.

        67.     Cloudflare denies the allegations of paragraph 67.




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        68.      Cloudflare denies the allegations of paragraph 68.

        69.      Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare admits that it assists copyright owners by

 forwarding to its customers and their hosting providers, as an accuser may direct, notifications of

 claimed infringement, with information appropriate for hosting services, that come to Cloudflare

 through its web form abuse complaint process. Cloudflare denies that it has received any

 notifications of claimed infringement from Plaintiffs that comply with the requirements of 17

 U.S.C. § 512(b). Cloudflare lacks knowledge to admit or deny the other allegations and

 therefore denies the remainder of paragraph 69.

        70.      Cloudflare denies the allegations of paragraph 70.

        71.      Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare believes, and therefore admits, that, when a US

 consumer wants to visit the website of a Cloudflare customer, the U.S. consumer’s Internet

 access provider will route the traffic to a Cloudflare data center. By automated processes, the

 Cloudflare data center may transmit some temporarily cached static content if the consumer

 seeks it and it is available at the data center. Cloudflare denies the remainder of paragraph 71.

        72.      Cloudflare admits that, speaking at a high level of generalization, Cloudflare’s

 CDN takes static content, such as static image files in formats such as .jpg, and stores static

 content closer for visitors to the websites. Cloudflare otherwise denies the allegations of

 paragraph 72.




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        73.     Cloudflare denies the first sentence of paragraph 73. Cloudflare lacks knowledge

 to admit or deny the other allegations and therefore denies the remainder of paragraph 73.

        74.     Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare lacks knowledge to admit or deny the other

 allegations and therefore denies the remainder of paragraph 74.

        75.     Cloudflare denies the allegations of paragraph 75.

        76.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 76.

        77.     Cloudflare denies the allegations of paragraph 77.

        78.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 78.

        79.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 79.

        80.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 80.

        81.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 81.

        82.     Cloudflare admits that it emphasizes Cloudflare’s ability to improve website load-

 times. Cloudflare denies the remainder of paragraph 82.

        83.     Cloudflare admits that the quotations in paragraph 83 are authentic. Cloudflare

 denies the remainder of paragraph 83.




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        84.     Cloudflare admits that the block quote in paragraph 84 is authentic. Cloudflare

 denies the remainder of paragraph 84.

        85.     Cloudflare admits the allegations of paragraph 85.

        86.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 86.

        87.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 87.

        88.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 88.

        89.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 89.

        90.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 90.

        91.     Cloudflare denies the allegations of paragraph 91.

        92.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 92.

        93.     Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare lacks knowledge to admit or deny that it improves

 performance of the websites of Does 1-200. Cloudflare denies that it materially aids

 infringements and further denies the remainder of paragraph 93.

        94.     Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 accuse of being “Infringing Sites” are infringing and therefore denies the allegation implicit in




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 the use of that phrase. Cloudflare lacks knowledge to admit or deny the other allegations and

 therefore denies the remainder of paragraph 94.

        95.     Cloudflare admits the allegations of paragraph 95.

        96.     Cloudflare admits the authenticity of the block quotation in paragraph 96.

 Cloudflare denies the remainder of paragraph 96.

        97.     Cloudflare admits the allegations of paragraph 97.

        98.     Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 98.

        99.     Cloudflare admits the authenticity and accuracy of the quotation in paragraph 99.

 Cloudflare denies the remainder of paragraph 99.

        100.    Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare lacks knowledge to admit or deny the other

 allegations and therefore denies the remainder of paragraph 100.

        101.    Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare denies the remainder of paragraph 101.

        102.    Cloudflare denies the allegations of paragraph 102.

        103.    Cloudflare lacks knowledge to admit or deny whether the websites that Plaintiffs

 refer to as “Infringing Websites” are indeed infringing and therefore denies the allegation

 implicit in the use of that phrase. Cloudflare lacks knowledge to admit or deny the other

 allegations and therefore denies the remainder of paragraph 103.




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        104.    Cloudflare admits the allegations relating to Railgun, although it denies that

 Railgun has any relevance to the Plaintiffs, their claims, or any facts in this lawsuit. Cloudflare

 further denies that Argo Smart Routing or Load Balancing have any relevance to the Plaintiffs,

 their claims, or any facts in this lawsuit. Cloudflare denies that the other language apart from the

 reference to Railgun Integration accurately represents and describes the sources indicated in the

 paragraph and accordingly denies the remainder of paragraph 104.

        105.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 105.

        106.    Cloudflare denies that the Digital Millennium Copyright Act places any

 requirements on online service providers: it is an optional limitation on remedies (if a service

 provider is an infringer subject to remedies to begin with) that a service provider may obtain by

 fulfilling various statutory conditions. Cloudflare admits that the DMCA provides a series of

 safe harbors for providers of different types of online services. Cloudflare denies the remainder

 of paragraph 106.

        107.    Cloudflare admits that the quoted language appears as a very small part of a

 House Committee report on the Digital Millennium Copyright Act, but Cloudflare denies that the

 quotation is accurate in context or describes the application of the safe harbors of the DMCA to

 Cloudflare. The Plaintiffs’ quotation omits the immediately preceding language saying that the

 Committee did not mean to suggest that “a provider must investigate possible infringements,

 monitor its service, or make difficult judgments as to whether conduct is or is not infringing.”

 H.R. Rep. No. 105-551, pt. 2, at 61. Cloudflare therefore denies the remainder of paragraph 107.

        108.    Cloudflare denies the allegations of paragraph 108.

        109.    Cloudflare denies the allegations of paragraph 109.




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        110.    Cloudflare denies the allegations of paragraph 110.

        111.    Cloudflare denies the allegations of paragraph 111.

        112.    Cloudflare denies the allegations of paragraph 112.

        113.    Cloudflare admits that it passed accusations from Plaintiffs to its customers and/or

 their hosting providers, as Plaintiffs’ agent may have directed. Cloudflare specifically denies

 that any of Plaintiffs’ communications met the requirements for valid notifications of claimed

 infringement. Cloudflare further specifically denies that Cloudflare took only those actions.

 Cloudflare denies the remaining allegations of paragraph 113.

        114.    Cloudflare admits that it has the capability of terminating services to subscribers

 or account holders. Cloudflare denies that it has the capability of adjudicating which subscribers

 or account holders are, in fact, copyright infringers. For that reason, Cloudflare denies the

 remainder of paragraph 114.

        115.    Cloudflare denies the allegations of paragraph 115.

        116.    Cloudflare denies the allegations of paragraph 116.

        117.    Cloudflare incorporates here by reference and restates its earlier responses.

        118.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 118.

        119.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 119.

        120.    Cloudflare denies the allegations of paragraph 120.

        121.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 121.




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        122.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 122.

        123.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 123.

        124.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 124.

        125.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 125.

        126.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 126.

        127.    Cloudflare lacks knowledge to admit or deny the allegations and therefore denies

 the allegations of paragraph 127.

        128.    Cloudflare denies the allegations of paragraph 128.

        129.    Cloudflare denies the allegations of paragraph 129.

        130.    Cloudflare denies the allegations of paragraph 130.

        131.    Cloudflare denies the allegations of paragraph 131.

        132.    Cloudflare denies the allegations of paragraph 132.

        133.    Cloudflare denies the allegations of paragraph 133.

        134.    Cloudflare denies the allegations of paragraph 134.

        135.    Cloudflare denies the allegations of paragraph 135.

        136.    Cloudflare denies the allegations of paragraph 136. Termination of service is not

 a “simple measure” within the meaning of that phrase in contributory infringement case law,

 which uses it in the fuller phrase “simple measures to prevent further damage to copyrighted




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 works.” Cloudflare cannot prevent further damage to any copyrighted works, and termination of

 its service would not have that effect.

         137.    Cloudflare denies the allegations of paragraph 137. Cloudflare does not make

 websites accessible. It prevents malicious cyberattacks on websites that threaten harm across the

 Internet or to targeted websites.

         138.    Cloudflare denies the allegations of paragraph 138.

         139.    Cloudflare denies the allegations of paragraph 139.

         140.    Cloudflare denies the allegations of paragraph 140.

         141.    Cloudflare denies the allegations of paragraph 141.

         142.    Cloudflare denies all allegations of the Complaint that it has not specifically

 admitted in its responses above. Cloudflare denies that it is liable for any matters that the

 Complaint alleges or that Plaintiffs are entitled to any relief they seek in the Complaint,

 including its prayer for relief.

                                             DEFENSES

         Cloudflare asserts the following defenses, whether affirmative or otherwise, that bar or

 limit some or all of Plaintiffs’ claims:

         1.      The Complaint fails to state a cause of action against Cloudflare.

         2.      This Court lacks personal jurisdiction over Cloudflare and venue in this District is

 improper.

         3.      The Online Copyright Infringement Liability Limitation Act, 17 U.S.C. § 512,

 limits the remedies available to Plaintiffs against Cloudflare: it precludes any monetary relief and

 any broad injunction.




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           4.    Plaintiffs’ claims against Cloudflare are moot because they cannot establish any

 right to a monetary remedy or to any injunction requiring conduct beyond what Cloudflare

 already does in the ordinary course of its business.

           5.    Plaintiffs lack standing to the extent they have not received registrations for their

 alleged copyrights as 17 U.S.C. § 411 requires; in the alternative, Plaintiffs lack standing to the

 extent they seek to enforce copyright registrations that contain misstatements or omissions that

 were material to the registrations and material to the purpose for which Plaintiffs invoke the

 registrations in this action.

           6.    The doctrine of fair use bars or limits Plaintiffs’ claims.

           7.    The statute of limitations bars or limits Plaintiffs’ claims.

           8.    Laches bars Plaintiffs’ or limits claims.

           9.    Plaintiffs have suffered no injury or recoverable damages; in the alternative,

 Plaintiffs’ failure to mitigate damages bars or limits their claims.

           10.   Cloudflare’s innocence limits any damages claims against it.

           11.   The First Amendment to the United States Constitution bars or limits Plaintiffs’

 claims.

           12.   The doctrine of estoppel bars or limits Plaintiffs’ claims.

           13.   The doctrines of consent, acquiescence, and license bar or limit Plaintiffs’ claims.

           14.   The doctrine of unclean hands bars or limits Plaintiffs’ claims.

           15.   The doctrine of copyright misuse bars or limits Plaintiffs’ claims.

           16.   17 U.S.C. § 412 bars Plaintiffs’ claims for statutory damages and attorney’s fees

 to the extent their copyright registrations were untimely.

           17.   The United States Constitution bars or limits Plaintiffs’ claims for damages.




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                                      PRAYER FOR RELIEF

        Cloudflare asks that the Court dismiss the action with prejudice and enter judgment in its

 favor and against Plaintiffs; that the Court adjudge that Cloudflare has not infringed upon

 Plaintiffs’ copyrights or otherwise violated Plaintiffs’ rights; that the Court adjudge that Cloudflare

 has no liability to either Plaintiff; that the Court adjudge that Cloudflare is not liable for any

 monetary relief or for any injunctive relief beyond the scope that section 512(j) authorizes, even in

 the case of a finding of infringement; that the Court award Cloudflare its attorneys’ fees and full

 costs against both Plaintiffs jointly and severally pursuant to the Copyright Act, 17 U.S.C. § 505

 and court rule; and that the Court grant all other relief as it deems proper.

                                   DEMAND FOR JURY TRIAL

        Cloudflare demands trial by jury.


  Dated:                                           Respectfully submitted,

                                                   By: /s/ Andrew P. Bridges
                                                   Andrew P. Bridges
                                                   Fenwick & West LLP
                                                   Silicon Valley Center
                                                   801 California Street
                                                   Mountain View, CA 94041
                                                   Telephone: 650.988.8500
                                                   Email: abridges@fenwick.com
                                                   (Admitted to U.S.D.C., W.D. Tenn.)

                                                   Robb S. Harvey
                                                   Waller Lansden Dortch & Davis LLP
                                                   511 Union Street, Suite 2700
                                                   Nashville, TN 37219
                                                   Telephone: 615.850.8859
                                                   Email: robb.harvey@wallerlaw.com

                                                   Attorneys for Defendant Cloudflare, Inc.




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                                  CERTIFICATE OF SERVICE

        I am counsel of record for defendant Cloudflare, Inc. and certify that on                        ,

 a copy of the foregoing Amended Counterclaims and Answer of Cloudflare, Inc. was filed

 electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

 system to all parties indicated on the electronic filing receipt. All other parties will be served by

 regular U.S. Mail. Parties may access this filing through the Court’s electronic filing system.



                                                           /s/ Andrew P. Bridges
                                                        Andrew P. Bridges




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               Exhibit A
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
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                   DMCA takedown notice | http://www.dressywell.co.za/ | ID 9F54A0D6
                   Mar 26, 2017 0700 am • Counterfeit Technology complaints@counterfeittechnology.com• Via abuse@cloudflare.com

      This is an archived ticket

                 Counterfeit Technology Mar 26, 2017 07 00 am
                 03/26/2017
                 ID-9F54A0D6
                 The infringing domain:
                 http://www.dressywell.co.za/

                 To Whom it May Concern:
                 I am the authorized agent of American Clothing Express Inc to submit claims of copyright infringement under the Digital Millennium Copyright Act
                 ("DMCA").
                 On behalf of American Clothing Express Inc, please be advised that this message serves as the second formal notice under the DMCA that a
                 website that your company hosts
                 according to information published on the WHOIS directory is illegally duplicating and reproducing at least one copyrighted work owned by
                 American Clothing Express Inc.
                 The website publishing the infringing content can be found at http://www.dressywell.co.za/. American Clothing Express Inc has previously
                 provided you with formal notice pursuant
                 to the DMCA of http://www.dressywell.co.za/'s illegal conduct in connection with 7F3D0872.
                 http://www.dressywell.co.za/ has illegally copied a copyrighted image onto your servers without authorization or permission from American
                 Clothing Express Inc.
                  The original image, to which American Clothing Express Inc owns exclusive copyrights, can be found here:
                 http://allurebridals.counterfeit.technology/originals.php?id=19181.
                 The unauthorized and infringing image can be found at:
                  http://www.dressywell.co.za/media/catalog/product/cache/1/image/1800x/040ec09b1e35df139433887a97daa66f/f/i/fidress1503-2.jpg.
https://abuse.zendesk.com/agent/tickets/376779                                                                                                                      2/4
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                 Please allow this letter to serve as the second official notification under Section 512(c) of the DMCA and American Clothing Express Inc's formal
                 request to seek removal
                 of the aforementioned infringing material from your servers. American Clothing Express Inc further requests that you immediately notify the
                 infringing party that
                 is unlawfully publishing this material and notify them to cease and desist from further posting any infringing material to your server in the future.
                 Please also be advised that federal law requires you, as a service provider, to "expeditiously remove or disable access to" the infringing images
                 upon
                 receiving this notice pursuant to an established policy to handle these types of complaints. Noncompliance may result in a loss of immunity for
                 liability under the DMCA and subject you to civil liability for your failure to investigate and respond to this complaint. American Clothing Express
                 Inc has a
                 rigorous policy to protect its intellectual property rights and aggressively pursues those that infringe upon these rights.
                 This notice is being provided in good faith and with the reasonable belief that American Clothing Express Inc's copyright rights are being infringed.
                  Under penalty of perjury, the undersigned certifies that the information contained in this notification is both true and accurate,
                 and has the authority to act on behalf of the owner of the copyrights identified in this complaint.
                 Nothing in this letter shall serve as a waiver of any rights or remedies of American Clothing Express Inc with respect to the alleged infringement,
                 all of which are expressly reserved.
                 Sincerely,

                 /s/

                 Armen Petrossian
                 Authorized Agent for American Clothing Express Inc
                 8 Neshaminy Interplex Drive, Suite 117
                 Trevose, Pennsylvania 19053 U.S.A.
                 +1 (864) 663-2537
                 complaints@counterfeittechnology.com
https://abuse.zendesk.com/agent/tickets/376779                                                                                                                           3/4
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               Exhibit B
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
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                                                                                        & Safety - Agent                  PageID 3714


                   DMCA takedown notice | http://www.promdaily.com/ | ID 51CD6AB1
                   Jul 04, 2017 01 47 pm • Counterfeit Technology complaints@counterfeittechnology.com• Via abuse@cloudflare.com

      This is an archived ticket

                 Counterfeit Technology Jul 04, 2017 01 47 pm
                 07/04/2017
                 ID-51CD6AB1
                 The infringing domain:
                 http://www.promdaily.com/

                 To Whom it May Concern:

                 I am the authorized agent of American Clothing Express Inc to submit claims of copyright infringement under the Digital Millennium Copyright Act
                 ("DMCA").
                 On behalf of American Clothing Express Inc, please be advised that this message serves as the 4th formal notice under the DMCA that a website
                 that your
                 company hosts according to information published on the WHOIS directory is illegally duplicating and reproducing at least one
                 copyrighted work owned by American Clothing Express Inc. The website publishing the infringing content can be found at
                 http://www.promdaily.com/.
                 American Clothing Express Inc has previously provided you with formal notice pursuant to the DMCA of http://www.promdaily.com/'s illegal
                 conduct
                 in connection with 3CF263BB, 9A6552A6, and 12D67A33.
                 http://www.promdaily.com/ has illegally copied a copyrighted image onto your servers without authorization or permission from American Clothing
                 Express Inc.
                  The original image, to which American Clothing Express Inc owns exclusive copyrights, can be found here:
                 http://allurebridals.counterfeit.technology/originals.php?id=24156.
https://abuse.zendesk.com/agent/tickets/646285                                                                                                                      2/4
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                                                                        Cloudﬂare    06/26/20
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                 The unauthorized and infringing image can be found at:
                  http://www.promdaily.com/media/catalog/product/cache/1/image/390x520/9df78eab33525d08d6e5fb8d27136e95/p/o/pon15066wd396-1.jpg.
                 Please allow this letter to serve as the 4th official notification under Section 512(c) of the DMCA and American Clothing Express Inc's formal
                 request
                 to seek removal of the aforementioned infringing material from your servers and immediate termination of this account due to it
                 being a repeat infringer under the DMCA.
                 Because you have ignored several previous requests to remove or disable access to the infringing images,
                 you are no longer immune from liability under the DMCA “safe harbor” provisions and are directly subject to civil liability
                 for failing to investigate and respond to these complaints in an appropriate manner.
                 This notice is being provided in good faith and with the reasonable belief that American Clothing Express Inc's copyright rights are being infringed.
                  Under penalty of perjury, the undersigned certifies that the information contained in this notification is both true and
                 accurate, and has the authority to act on behalf of the owner of the copyrights identified in this complaint.
                 Nothing in this letter shall serve as a waiver of any rights or remedies of American Clothing Express Inc with respect to the alleged infringement,
                 all of which are expressly reserved.

                 /s/

                 Armen Petrossian
                 Authorized Agent for American Clothing Express Inc
                 8 Neshaminy Interplex Drive, Suite 117
                 Trevose, Pennsylvania 19053 U.S.A.
                 +1 (864) 663-2537
                 complaints@counterfeittechnology.com

https://abuse.zendesk.com/agent/tickets/646285                                                                                                                           3/4
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               Exhibit C
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
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                   DMCA takedown notice | http://www.missydress.ca/ | ID 0D718244
                   Jul 08, 2017 1236 pm • Counterfeit Technology complaints@counterfeittechnology.com via Justin• Via abuse@cloudflare.com

      This is an archived ticket

                 Counterfeit Technology Jul 08, 2017 02 36 am
                 07/08/2017
                 ID-0D718244
                 The infringing domain:
                 http://www.missydress.ca/

                 To Whom it May Concern:
                 I am the authorized agent of
                 American Clothing Express Inc to submit claims of copyright infringement under the Digital Millennium Copyright Act ("DMCA").
                 On behalf of American Clothing Express Inc, please be advised that this message serves as the third formal notice under the DMCA that a website
                 that your
                 company hosts according to information published on the WHOIS directory is illegally duplicating and reproducing at least one
                 copyrighted work owned by American Clothing Express Inc. The website publishing the infringing content can be found at
                 http://www.missydress.ca/.
                 American Clothing Express Inc has previously provided you with formal notice pursuant to the DMCA of http://www.missydress.ca/'s illegal
                 conduct in
                 connection with 2AE7B2DD and 4A640DAA.
                 http://www.missydress.ca/ has illegally copied a copyrighted image onto your servers without authorization or permission from
                 American Clothing Express Inc. The original image, to which American Clothing Express Inc owns exclusive copyrights, can be found here:
                 http://allurebridals.counterfeit.technology/originals.php?id=23922.
                 The unauthorized and infringing image can be found at:
                  http://www.missydress.ca/media/catalog/product/cache/1/image/9df78eab33525d08d6e5fb8d27136e95/p/o/po151010po128-1.jpg.
https://abuse.zendesk.com/agent/tickets/656288                                                                                                                     2/4
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 78 of 149
                                                                                        & Safety - Agent                     PageID 3718
                 Please allow this letter to serve as the third official notification under Section 512(c) of the DMCA and American Clothing Express Inc's formal
                 request to seek removal of the aforementioned infringing material from your servers. American Clothing Express Inc further requests that you
                 immediately notify the infringing party that is unlawfully publishing this material and notify them to cease and desist from
                 further posting any infringing material to your server in the future.
                 Please also be advised that federal law requires you, as a service provider, to "expeditiously remove or disable access to" the
                 infringing images upon receiving this notice pursuant to an established policy to handle these types of complaints.
                  Noncompliance may result in a loss of immunity for liability under the DMCA and subject you to civil liability for your
                 failure to investigate and respond to this complaint. American Clothing Express Inc has a rigorous policy to protect its intellectual
                 property rights and aggressively pursues those that infringe upon these rights.
                 This notice is being provided in good faith and with the reasonable belief that American Clothing Express Inc's copyright rights are being infringed.
                  Under penalty of perjury, the undersigned certifies that the information contained in this notification is both true and
                 accurate, and has the authority to act on behalf of the owner of the copyrights identified in this complaint.
                 Nothing in this letter shall serve as a waiver of any rights or remedies of American Clothing Express Inc with respect to the alleged infringement,
                 all of which are expressly reserved.
                 Sincerely,

                 /s/

                 Armen Petrossian
                 Authorized Agent for American Clothing Express Inc
                 8 Neshaminy Interplex Drive, Suite 117
                 Trevose, Pennsylvania 19053 U.S.A.
                 +1 (864) 663-2537
                 complaints@counterfeittechnology.com

https://abuse.zendesk.com/agent/tickets/656288                                                                                                                           3/4
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               Exhibit D
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 80 of 149
                                                                                        & Safety - Agent                  PageID 3720


                   DMCA takedown notice | https://www.bidbel.com/ | ID 7BAE2397
                   Aug 08, 2017 08 27 am • Counterfeit Technology complaints@counterfeittechnology.com• Via abuse@cloudflare.com

      This is an archived ticket

                 Counterfeit Technology Aug 08, 2017 08 27 am
                 08/08/2017
                 ID-7BAE2397
                 The infringing domain:
                 https://www.bidbel.com/

                 To Whom it May Concern:
                 I am the authorized agent of American Clothing Express Inc to submit claims of copyright infringement under the Digital Millennium Copyright Act
                 ("DMCA").
                 On behalf of American Clothing Express Inc, please be advised that this message serves as the second formal notice under the DMCA that a
                 website that your company hosts
                 according to information published on the WHOIS directory is illegally duplicating and reproducing at least one copyrighted work owned by
                 American Clothing Express Inc.
                 The website publishing the infringing content can be found at https://www.bidbel.com/. American Clothing Express Inc has previously provided
                 you with formal notice pursuant
                 to the DMCA of https://www.bidbel.com/'s illegal conduct in connection with 44202C4B.
                 https://www.bidbel.com/ has illegally copied a copyrighted image onto your servers without authorization or permission from American Clothing
                 Express Inc.
                  The original image, to which American Clothing Express Inc owns exclusive copyrights, can be found here:
                 http://allurebridals.counterfeit.technology/originals.php?id=19467.
                 The unauthorized and infringing image can be found at: https://www.bidbel.com/image/cache/data/products/002/01/037-1-641x855.jpg.
https://abuse.zendesk.com/agent/tickets/721963                                                                                                                      2/4
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 81 of 149
                                                                                        & Safety - Agent                     PageID 3721
                 Please allow this letter to serve as the second official notification under Section 512(c) of the DMCA and American Clothing Express Inc's formal
                 request to seek removal
                 of the aforementioned infringing material from your servers. American Clothing Express Inc further requests that you immediately notify the
                 infringing party that
                 is unlawfully publishing this material and notify them to cease and desist from further posting any infringing material to your server in the future.
                 Please also be advised that federal law requires you, as a service provider, to "expeditiously remove or disable access to" the infringing images
                 upon
                 receiving this notice pursuant to an established policy to handle these types of complaints. Noncompliance may result in a loss of immunity for
                 liability under the DMCA and subject you to civil liability for your failure to investigate and respond to this complaint. American Clothing Express
                 Inc has a
                 rigorous policy to protect its intellectual property rights and aggressively pursues those that infringe upon these rights.
                 This notice is being provided in good faith and with the reasonable belief that American Clothing Express Inc's copyright rights are being infringed.
                  Under penalty of perjury, the undersigned certifies that the information contained in this notification is both true and accurate,
                 and has the authority to act on behalf of the owner of the copyrights identified in this complaint.
                 Nothing in this letter shall serve as a waiver of any rights or remedies of American Clothing Express Inc with respect to the alleged infringement,
                 all of which are expressly reserved.
                 Sincerely,

                 /s/

                 Armen Petrossian
                 Authorized Agent for American Clothing Express Inc
                 8 Neshaminy Interplex Drive, Suite 117
                 Trevose, Pennsylvania 19053 U.S.A.
                 +1 (864) 663-2537
                 complaints@counterfeittechnology.com
https://abuse.zendesk.com/agent/tickets/721963                                                                                                                           3/4
Case 2:20-cv-02007-SHM Document 33-1 Filed 06/26/20 Page 82 of 149   PageID 3722




               Exhibit E
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 83 of 149
                                                                                        & Safety - Agent                      PageID 3723


                   DMCA takedown notice | http://www.stortebecker.com/ | ID 6504AB9F
                   Jan 29, 2017 08 01 am • Counterfeit Technology complaints@counterfeittechnology.com• Via abuse@cloudflare.com

      This is an archived ticket

                 Counterfeit Technology Jan 29, 2017 08 01 am
                 01/29/2017
                 ID-6504AB9F
                 The infringing domain:
                 http://www.stortebecker.com/

                 To Whom it May Concern:
                 I am the authorized agent of Justin Alexander Bridal, Inc., LLC to submit claims of copyright infringement under the Digital Millennium Copyright
                 Act ("DMCA").
                 On behalf of Justin Alexander Bridal, Inc., LLC, please be advised that this message serves as formal notice under the DMCA that a website that
                 your company hosts according to information published on the WHOIS directory is illegally duplicating and reproducing at least one copyrighted
                 work owned by Justin Alexander Bridal, Inc., LLC.
                 The website publishing the infringing content can be found at http://www.stortebecker.com/.
                 A copyrighted image was copied onto your servers without authorization or permission from Justin Alexander Bridal, Inc., LLC. The original image,
                 to which Justin Alexander Bridal, Inc., LLC owns exclusive copyrights, can be found here:
                 http://justinalexander.counterfeit.technology/originals.php?id=20639.
                 The unauthorized and infringing image can be found at:
                  http://www.stortebecker.com/store/1/1e/1ee/ma39f5e7f92b27149c3aa7bde9eb9b271.jpg.
                 Please allow this letter to serve as official notification under Section 512(c) of the DMCA and Justin Alexander Bridal, Inc., LLC's formal request to
                 seek removal of the aforementioned infringing material from your servers.
https://abuse.zendesk.com/agent/tickets/242231                                                                                                                            2/4
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 84 of 149
                                                                                        & Safety - Agent                        PageID 3724
                  Justin Alexander Bridal, Inc., LLC further requests that you immediately notify the infringing party that is unlawfully publishing this material and
                 notify them to cease and desist from further posting any infringing material to your server in the future.
                 Please also be advised that federal law requires you, as a service provider, to "expeditiously remove or disable access to" the infringing images
                 upon receiving this notice pursuant to an established policy to handle these types of complaints.
                  Noncompliance may result in a loss of immunity for liability under the DMCA and subject you to civil liability for your failure to investigate and
                 respond to this complaint. Justin Alexander Bridal, Inc., LLC has a rigorous policy to protect its intellectual property rights and aggressively
                 pursues those that infringe upon these rights.

                 This notice is being provided in good faith and with the reasonable belief that Justin Alexander Bridal, Inc., LLC's copyright rights are being
                 infringed. Under penalty of perjury, the undersigned certifies that the information contained in this notification is both true and accurate,
                 and has the authority to act on behalf of the owner of the copyrights identified in this complaint.
                 Nothing in this letter shall serve as a waiver of any rights or remedies of Justin Alexander Bridal, Inc., LLC with respect to the alleged infringement,
                 all of which are expressly reserved.
                 Sincerely,

                 /s/

                 Armen Petrossian
                 Authorized Agent for Justin Alexander Bridal, Inc., LLC
                 8 Neshaminy Interplex Drive, Suite 117
                 Trevose, Pennsylvania 19053 U.S.A.
                 +1 (864) 663-2537
                 complaints@counterfeittechnology.com




https://abuse.zendesk.com/agent/tickets/242231                                                                                                                              3/4
Case 2:20-cv-02007-SHM Document 33-1 Filed 06/26/20 Page 85 of 149   PageID 3725




                Exhibit F
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 86 of 149
                                                                                        & Safety - Agent                   PageID 3726


                   DMCA takedown notice | http://www.promdaily.com/ | ID 73281F9C
                   May 04, 2017 0709 am • Counterfeit Technology complaints@counterfeittechnology.com• Via abuse@cloudflare.com

      This is an archived ticket

                 Counterfeit Technology May 04, 2017 07 09 am
                 05/04/2017
                 ID-73281F9C
                 The infringing domain:
                 http://www.promdaily.com/

                 To Whom it May Concern:
                 I am the authorized agent of Justin Alexander Bridal, Inc., LLC to submit claims of copyright infringement under the Digital Millennium Copyright
                 Act ("DMCA").
                 On behalf of Justin Alexander Bridal, Inc., LLC, please be advised that this message serves as the second formal notice under the DMCA that a
                 website that your company hosts
                 according to information published on the WHOIS directory is illegally duplicating and reproducing at least one copyrighted work owned by Justin
                 Alexander Bridal, Inc., LLC.
                 The website publishing the infringing content can be found at http://www.promdaily.com/. Justin Alexander Bridal, Inc., LLC has previously
                 provided you with formal notice pursuant
                 to the DMCA of http://www.promdaily.com/'s illegal conduct in connection with 8E8D337F.
                 http://www.promdaily.com/ has illegally copied a copyrighted image onto your servers without authorization or permission from Justin Alexander
                 Bridal, Inc., LLC.
                  The original image, to which Justin Alexander Bridal, Inc., LLC owns exclusive copyrights, can be found here:
                 http://justinalexander.counterfeit.technology/originals.php?id=32477.
                 The unauthorized and infringing image can be found at:
                  http://www.promdaily.com/media/catalog/product/cache/1/image/501x668/9df78eab33525d08d6e5fb8d27136e95/a/u/au-a201120827012-
https://abuse.zendesk.com/agent/tickets/469492                                                                                                                       2/5
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 87 of 149
                                                                                        & Safety - Agent                         PageID 3727
                 champagne-1-900x1434.jpg.
                 Please allow this letter to serve as the second official notification under Section 512(c) of the DMCA and Justin Alexander Bridal, Inc., LLC's formal
                 request to seek removal
                 of the aforementioned infringing material from your servers. Justin Alexander Bridal, Inc., LLC further requests that you immediately notify the
                 infringing party that
                 is unlawfully publishing this material and notify them to cease and desist from further posting any infringing material to your server in the future.
                 Please also be advised that federal law requires you, as a service provider, to "expeditiously remove or disable access to" the infringing images
                 upon
                 receiving this notice pursuant to an established policy to handle these types of complaints. Noncompliance may result in a loss of immunity for
                 liability under the DMCA and subject you to civil liability for your failure to investigate and respond to this complaint. Justin Alexander Bridal, Inc.,
                 LLC has a
                 rigorous policy to protect its intellectual property rights and aggressively pursues those that infringe upon these rights.
                 This notice is being provided in good faith and with the reasonable belief that Justin Alexander Bridal, Inc., LLC's copyright rights are being
                 infringed.
                  Under penalty of perjury, the undersigned certifies that the information contained in this notification is both true and accurate,
                 and has the authority to act on behalf of the owner of the copyrights identified in this complaint.
                 Nothing in this letter shall serve as a waiver of any rights or remedies of Justin Alexander Bridal, Inc., LLC with respect to the alleged infringement,
                 all of which are expressly reserved.
                 Sincerely,

                 /s/

                 Armen Petrossian
                 Authorized Agent for Justin Alexander Bridal, Inc., LLC
                 8 Neshaminy Interplex Drive, Suite 117
                 Trevose, Pennsylvania 19053 U.S.A.
https://abuse.zendesk.com/agent/tickets/469492                                                                                                                               3/5
Case 2:20-cv-02007-SHM Document 33-1 Filed 06/26/20 Page 88 of 149   PageID 3728




                Exhibit G
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 89 of 149
                                                                                        & Safety - Agent                      PageID 3729


                   DMCA takedown notice | http://www.perakos-zitser.com/ | ID 54100FAA
                   Jul 07, 2017 0708 am • Counterfeit Technology complaints@counterfeittechnology.com• Via abuse@cloudflare.com

      This is an archived ticket

                 Counterfeit Technology Jul 07, 2017 07 08 am
                 07/07/2017
                 ID-54100FAA
                 The infringing domain:
                 http://www.perakos-zitser.com/

                 To Whom it May Concern:
                 I am the authorized agent of Justin Alexander Bridal, Inc., LLC to submit claims of copyright infringement under the Digital Millennium Copyright
                 Act ("DMCA").
                 On behalf of Justin Alexander Bridal, Inc., LLC, please be advised that this message serves as formal notice under the DMCA that a website that
                 your company hosts according to information published on the WHOIS directory is illegally duplicating and reproducing at least one copyrighted
                 work owned by Justin Alexander Bridal, Inc., LLC.
                 The website publishing the infringing content can be found at http://www.perakos-zitser.com/.
                 A copyrighted image was copied onto your servers without authorization or permission from Justin Alexander Bridal, Inc., LLC. The original image,
                 to which Justin Alexander Bridal, Inc., LLC owns exclusive copyrights, can be found here:
                 http://justinalexander.counterfeit.technology/originals.php?id=21054.
                 The unauthorized and infringing image can be found at: http://www.perakos-
                 zitser.com/store/f/f6/f61/m43388b51e8a6778d16688b044d04295e.jpg.
                 Please allow this letter to serve as official notification under Section 512(c) of the DMCA and Justin Alexander Bridal, Inc., LLC's formal request to
                 seek removal of the aforementioned infringing material from your servers.
https://abuse.zendesk.com/agent/tickets/653335                                                                                                                            2/4
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 90 of 149
                                                                                        & Safety - Agent                        PageID 3730
                  Justin Alexander Bridal, Inc., LLC further requests that you immediately notify the infringing party that is unlawfully publishing this material and
                 notify them to cease and desist from further posting any infringing material to your server in the future.
                 Please also be advised that federal law requires you, as a service provider, to "expeditiously remove or disable access to" the infringing images
                 upon receiving this notice pursuant to an established policy to handle these types of complaints.
                  Noncompliance may result in a loss of immunity for liability under the DMCA and subject you to civil liability for your failure to investigate and
                 respond to this complaint. Justin Alexander Bridal, Inc., LLC has a rigorous policy to protect its intellectual property rights and aggressively
                 pursues those that infringe upon these rights.

                 This notice is being provided in good faith and with the reasonable belief that Justin Alexander Bridal, Inc., LLC's copyright rights are being
                 infringed. Under penalty of perjury, the undersigned certifies that the information contained in this notification is both true and accurate,
                 and has the authority to act on behalf of the owner of the copyrights identified in this complaint.
                 Nothing in this letter shall serve as a waiver of any rights or remedies of Justin Alexander Bridal, Inc., LLC with respect to the alleged infringement,
                 all of which are expressly reserved.
                 Sincerely,

                 /s/

                 Armen Petrossian
                 Authorized Agent for Justin Alexander Bridal, Inc., LLC
                 8 Neshaminy Interplex Drive, Suite 117
                 Trevose, Pennsylvania 19053 U.S.A.
                 +1 (864) 663-2537
                 complaints@counterfeittechnology.com




https://abuse.zendesk.com/agent/tickets/653335                                                                                                                              3/4
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               Exhibit H
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 92 of 149
                                                                                        & Safety - Agent                   PageID 3732


                   DMCA takedown notice | http://www.icdatasheets.com/ | ID 85615F45
                   Jul 07, 2017 08 19 am • Counterfeit Technology complaints@counterfeittechnology.com via Justin• Via abuse@cloudflare.com

      This is an archived ticket

                 Counterfeit Technology Jul 07, 2017 07 11 am
                 07/07/2017
                 ID-85615F45
                 The infringing domain:
                 http://www.icdatasheets.com/

                 To Whom it May Concern:
                 I am the authorized agent of Justin Alexander Bridal, Inc., LLC to submit claims of copyright infringement under the Digital Millennium Copyright
                 Act ("DMCA").
                 On behalf of Justin Alexander Bridal, Inc., LLC, please be advised that this message serves as the second formal notice under the DMCA that a
                 website that your company hosts
                 according to information published on the WHOIS directory is illegally duplicating and reproducing at least one copyrighted work owned by Justin
                 Alexander Bridal, Inc., LLC.
                 The website publishing the infringing content can be found at http://www.icdatasheets.com/. Justin Alexander Bridal, Inc., LLC has previously
                 provided you with formal notice pursuant
                 to the DMCA of http://www.icdatasheets.com/'s illegal conduct in connection with 7B1936F9.
                 http://www.icdatasheets.com/ has illegally copied a copyrighted image onto your servers without authorization or permission from Justin
                 Alexander Bridal, Inc., LLC.
                  The original image, to which Justin Alexander Bridal, Inc., LLC owns exclusive copyrights, can be found here:
                 http://justinalexander.counterfeit.technology/originals.php?id=22562.
                 The unauthorized and infringing image can be found at:
                  http://www.icdatasheets.com/store/8/88/88f/l0cc20739a98fcb2193985aa4d6291983.jpg.
https://abuse.zendesk.com/agent/tickets/653567                                                                                                                       2/4
3/10/2020                            Case 2:20-cv-02007-SHM Document 33-1    Filed
                                                                        Cloudﬂare    06/26/20
                                                                                  Trust               Page 93 of 149
                                                                                        & Safety - Agent                         PageID 3733

                 Please allow this letter to serve as the second official notification under Section 512(c) of the DMCA and Justin Alexander Bridal, Inc., LLC's formal
                 request to seek removal
                 of the aforementioned infringing material from your servers. Justin Alexander Bridal, Inc., LLC further requests that you immediately notify the
                 infringing party that
                 is unlawfully publishing this material and notify them to cease and desist from further posting any infringing material to your server in the future.
                 Please also be advised that federal law requires you, as a service provider, to "expeditiously remove or disable access to" the infringing images
                 upon
                 receiving this notice pursuant to an established policy to handle these types of complaints. Noncompliance may result in a loss of immunity for
                 liability under the DMCA and subject you to civil liability for your failure to investigate and respond to this complaint. Justin Alexander Bridal, Inc.,
                 LLC has a
                 rigorous policy to protect its intellectual property rights and aggressively pursues those that infringe upon these rights.
                 This notice is being provided in good faith and with the reasonable belief that Justin Alexander Bridal, Inc., LLC's copyright rights are being
                 infringed.
                  Under penalty of perjury, the undersigned certifies that the information contained in this notification is both true and accurate,
                 and has the authority to act on behalf of the owner of the copyrights identified in this complaint.
                 Nothing in this letter shall serve as a waiver of any rights or remedies of Justin Alexander Bridal, Inc., LLC with respect to the alleged infringement,
                 all of which are expressly reserved.
                 Sincerely,

                 /s/

                 Armen Petrossian
                 Authorized Agent for Justin Alexander Bridal, Inc., LLC
                 8 Neshaminy Interplex Drive, Suite 117
                 Trevose, Pennsylvania 19053 U.S.A.
                 +1 (864) 663-2537
https://abuse.zendesk.com/agent/tickets/653567                                                                                                                               3/4
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                 Exhibit I
3/20/2020 Case     2:20-cv-02007-SHM Document        33-1
                                     Cloudﬂare abuse form      Filed| The
                                                          | Cloudﬂare  06/26/20       Page
                                                                          web performance      95 company
                                                                                          & security of 149                PageID 3735

                                                                                      Home       Features        Help       Sign up   Login




        Abuse policy
        Cloudﬂare oﬀers network service solutions including a reverse proxy,           We accept the following kinds of reports:
        pass-through security service, and a content distribution network (CDN).
        Because Cloudﬂare is a reverse proxy, our IP addresses appear in                Copyright infringement & DMCA violations
        WHOIS and DNS records for websites using our services. Cloudﬂare is             Trademark infringement
        not a website hosting provider, and we cannot remove material from the          Child pornography
        Internet that is hosted by others.                                              Phishing & malware
                                                                                        Violent threats and harassment
        What can you do?
        You can report abuse using the reporting form below. Cloudﬂare will
                                                                                         Click here to submit an abuse report
        forward abuse reports that appear to be substantially complete to the
        responsible website hosting provider and to the website owner. In
        response to a substantially complete abuse report, Cloudﬂare will provide
        the complainant with the contact information for the responsible website
        hosting provider so they can be contacted directly.

        Complaint information may be shared with law enforcement oﬃcials in
        response to a legitimate request.

        In accordance with the Digital Millennium Copyright Act, Cloudﬂare will,
        in appropriate circumstances, disable access to Cloudﬂare services or
        terminate the accounts of users determined to be repeat infringers.

        What are we unable to do?
        Cloudﬂare does not have the capability to remove content from a website
        hosted by others.

        How do I report?
        If you do choose to ﬁle a report with Cloudﬂare, you’ll want to select the
        the appropriate category for your report on the reporting form. Please
        provide a high level of detail in the description of the content, the exact
        steps needed to access the content, and the location of the content on
        the page. For reports of a sensitive nature, including nonconsensual
        pornography or reports of human traﬃcking, please use the "violent
        threats and harassment" option. We only review reports of URLs
        resolving to Cloudﬂare IPs.

        If you are making a "child pornography", "violent threats and
        harassment" , or "general" report, you will have the option to make your
        claim anonymously. If you select this option we will forward the
        substance of your complaint to the parties you've indicated (i.e., website
        host and/or website owner), but not any personal information about you.
        Be advised in such cases that the people who control the content that is
        the subject of your complaint will be aware of your issue, but will be
        signiﬁcantly limited in their ability to follow up on your complaint.

        Physical mail can be sent to:
        Cloudﬂare, Inc.
        Attn: Legal Department
        101 Townsend St
        San Francisco, CA 94107

        What if I’m a law enforcement oﬃcial?
        Law enforcement oﬃcials can contact us directly at
        abuse+law@cloudﬂare.com. You must include your badge & case number
        when contacting us to receive a response. It is a crime to falsely
        impersonate a law enforcement oﬃcial.




https://www.cloudﬂare.com/abuse/                                                                                                              1/2
3/20/2020 Case       2:20-cv-02007-SHM Document        33-1
                                       Cloudﬂare abuse form      Filed| The
                                                            | Cloudﬂare  06/26/20       Page
                                                                            web performance      96 company
                                                                                            & security of 149     PageID 3736
     Contact                       What we do               Community                Support                    About us
     Contact support               Plans                    Blog                     Help center                Our team
     Contact sales                 Overview                 Case studies             System status              Careers
     Call sales: +1 888 993 5273   Features                 Partners                 Resources                  Press
                                   Network                  API                      Videos                     Terms of service
                                   Apps                                              Trust & Safety             Privacy & security


     © CloudFlare, Inc.




https://www.cloudﬂare.com/abuse/                                                                                                     2/2
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                Exhibit J
3/20/2020 Case      2:20-cv-02007-SHM Document
                                        Abuse form 33-1
                                                   | CloudﬂareFiled   06/26/20
                                                               | The web performance &Page     98 of 149
                                                                                      security company                            PageID 3738

                                                                                             Home           Features   Help        Sign up               Login




      Submit an Abuse Form                                               Copyright Infringement & DMCA Violations
                                                                                                                          Copyright & DMCA policy
                                                                                                                          Cloudﬂare acknowledges abuse
                                                                                                                          reports from copyright holders
                            Your full name            e.g., Jane Doe                                                      or their legally authorized
                                                                                                                          representatives. You may not
                                                                                                                          submit more than 250 infringing
                                                                                                                          URLs at a time, and only
                   © holder's full name               You must be an authorized agent of the holder                       domains that resolve to
         Enter if you are not the copyright holder.                                                                       Cloudﬂare IPs will be
                                                                                                                          responded to.

                                                                                                                          If your submission is valid,
                     Your email address                                                                                   Cloudﬂare will act in
                                                                                                                          accordance with our privacy
                                                                                                                          and security policy. Cloudﬂare
                                                                                                                          is a pass through network that
                                                                                                                          caches content for a limited
               Conﬁrm email address
                                                                                                                          time only. We do not provide
                                                                                                                          hosting services for any
                                                                                                                          website. Cloudﬂare will notify
                                                                                                                          the site owner and, where
                                            Title                                                                         appropriate, the web hosting
                                          Optional                                                                        provider for the site in question.

                                                                                                                          By submitting a report, you
                                                                                                                          agree to submitted data
                          Company name                                                                                    potentially being released by
                                                                                                                          Cloudﬂare to third parties, such
                                          Optional
                                                                                                                          as Chilling Eﬀects.



                                  Telephone
                                          Optional




                                      Address




                                            City




                          State / province




                                      Country         Select a country




https://www.cloudﬂare.com/abuse/form                                                                                                                             1/3
3/20/2020 Case       2:20-cv-02007-SHM Document
                                         Abuse form 33-1
                                                    | CloudﬂareFiled   06/26/20
                                                                | The web performance &Page     99 of 149
                                                                                       security company                                               PageID 3739

                           Infringing URLs              Place each URL on a separate line




                                    Video IDs           If the report is related to videos on Cloudﬂare Stream (Cloudﬂare's
                                     (If Applicable)    video product) please list the video IDs here (one per line). You can
                                                        ﬁnd the video IDs by right-clicking on the video player.




           Describe the original work                   Describe the copyrighted work in full detail, including links to the
                                                        original work or evidence of source material.




               512(f) acknowledgment,                  By checking this box, you attest, under penalty of perjury, that you have a good faith
                                                       belief that use of the material in this report is not authorized by the copyright owner, its
      Good faith belief, Authority to
                                                       agent, or the law; AND you are authorized to act on behalf of the copyright owner; AND
                                              act      you understand, under 17 U.S.C. § 512(f), you may be liable for any damages, including
                                                       costs and attorneys' fees, if you knowingly materially misrepresent reported material.

                                                           I understand and agree



                          Digital signature             Enter your name to sign this submission
              By entering your name, you afﬁrm all
             information is true and accurate while
              agreeing to the policies on this page



      Because Cloudﬂare does not have the ability to remove content from a website, it is our practice to forward
      abuse complaints to entities like the hosting provider and/or website owner to follow up. Please specify:



              Who should be notiﬁed?                      Please forward my report to the website hosting provider.

                        Please select at least one.       Please forward my report to the website owner.

         Note: The hosting provider may have their
       own policies for how they notify the website
                             owner of a complaint.




                                                                                                                                   Submit



https://www.cloudﬂare.com/abuse/form                                                                                                                                2/3
3/20/2020Case        2:20-cv-02007-SHM Document
                                          Abuse form33-1      Filed
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https://www.cloudﬂare.com/abuse/form                                                                                                3/3
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               Exhibit K
       Case 2:20-cv-02007-SHM Document 33-1 Filed 06/26/20 Page 102 of 149                                  PageID 3742
Submission Details

Submitter Name
Armen Petrossian
Submitter Email
complaints@counterfeittechnology.com
Agent Name
American Clothing Express Inc
Company
American Clothing Express Inc, client of Counterfeit Technology
Location
8 Neshaminy Interplex Drive, Suite 117
Trevose, Pennsylvania
US
Host Notiﬁcation
Send
Owner Notiﬁcation
Send


URLs
http://www.dallasbridals.com/index.php?
http://www.dallasbridals.com/images/2017/Allure-Bridesmaid-Separates-
TOP-1529T_01.jpg

Original Work Description
Allure Bridals images of Allure Bridals dresses http://allurebridals.counterfeit.technology/originals.php?id=26654
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                Exhibit L
       Case 2:20-cv-02007-SHM Document 33-1 Filed 06/26/20 Page 104 of 149                             PageID 3744
Submission Details

Submitter Name
Armen Petrossian
Submitter Email
complaints@counterfeittechnology.com
Agent Name
Justin Alexander Bridal, Inc., LLC
Company
Justin Alexander Bridal, Inc., LLC, client of Counterfeit Technology
Location
8 Neshaminy Interplex Drive, Suite 117
Trevose, Pennsylvania
US
Host Notiﬁcation
Send
Owner Notiﬁcation
Send


URLs
http://www.gsashopper.com/h-coda+a+strascico+corto+barchetta+stile+impero+abiti+da+sposa+stravaganti-21873.html
http://www.gsashopper.com/store/f/fc/fcf/le35f341358b16fc2ac2734a7f2865b6a.jpg

Original Work Description
Justin Alexander images of Justin Alexander dresses http://justinalexander.counterfeit.technology/originals.php?id=21635
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                Exhibit N
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               Exhibit O
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                Exhibit P
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               Exhibit Q
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                Exhibit R
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                 Exhibit S
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